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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 20-cv-03747-NRN

 KEVIN O’ROURKE,
 NATHANIEL L. CARTER,
 LORI CUTUNILLI,
 LARRY D. COOK,
 ALVIN CRISWELL,
 KESHA CRENSHAW,
 NEIL YARBROUGH, and
 AMIE TRAPP,

 Plaintiffs,

 v.

 DOMINION VOTING SYSTEMS INC., a Delaware corporation,
 FACEBOOK, INC., a Delaware corporation,
 CENTER FOR TECH AND CIVIC LIFE, an Illinois non-profit organization,
 MARK E. ZUCKERBERG, individually,
 PRISCILLA CHAN, individually,
 BRIAN KEMP, individually,
 BRAD RAFFENSPERGER, individually,
 GRETCHEN WHITMER, individually,
 JOCELYN BENSON, individually,
 TOM WOLF, individually,
 KATHY BOOCKVAR, individually,
 TONY EVERS, individually,
 ANN S. JACOBS, individually,
 MARK L. THOMSEN, individually,
 MARGE BOSTELMAN, individually,
 JULIE M. GLANCEY,
 DEAN KNUDSON, individually,
 ROBERT F. SPINDELL, JR, individually, and
 DOES 1-10,000,

 Defendants.

               ORDER GRANTING DEFENDANTS’ MOTIONS FOR SANCTIONS
                          (Dkt. ##98, 101, 102, 103, & 109)

 N. REID NEUREITER
 United States Magistrate Judge
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        This matter is before the Court with the consent of the Parties, referred for all

 purposes by Chief Judge Philip A. Brimmer pursuant to 28 U.S.C. § 636(c).

           1. Procedural History

        This case was filed on December 22, 2020, more than a month-and-a-half after

 the November 3, 2020 Presidential election. As filed, the suit was a class action brought

 on behalf of all American registered voters, alleging that their constitutional right to vote

 for President somehow was unconstitutionally infringed on or burdened by the

 Defendants. Claims included alleged violations of the Electors, Due Process, and Equal

 Protections Clauses of the Constitution, and alleged violations of the First Amendment,

 including burdens on political speech and freedom of the press. On March 15, 2021,

 Plaintiffs sought to amend the Complaint to add more than 150 additional plaintiffs and

 several new claims, including claims brought pursuant to the Racketeer Influenced and

 Corrupt Organizations Act (“RICO”).

        This Court dismissed the entire case for lack of standing on April 28, 2021,

 granting motions to dismiss filed by three private entity defendants, Facebook, Inc.

 (“Facebook”), Dominion Voting Systems, Inc. (“Dominion”), and the Center for Tech and

 Civic Life (“CTCL”). See Dkt. #92. In the order dismissing the case, the Court denied

 Plaintiffs’ Motion for Leave to Amend, finding that any amendment would be futile.

 Various state officials (including governors) from the states of Georgia, Michigan,

 Pennsylvania, and Wisconsin (the “State Official Defendants”), who also were named as

 defendants in the case, had also filed motions to dismiss and had opposed Plaintiffs’

 request for leave to amend. But Plaintiffs voluntarily dismissed these State Official




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 Defendants prior to issuance of my order of dismissal. Therefore, the State Official

 Defendants’ motions to dismiss were denied as moot.

         Defendants Dominion, Facebook, and CTCL have moved for sanctions pursuant

 to Fed. R. Civ. Pro. 11; 28 U.S.C. § 1927; and the Court’s inherent authority. See Dkt.

 #98 (Dominion’s Motion); Dkt. #102 (CTCL’s Motion); and Dkt. #103 (Facebook’s

 Motion). Defendants from the state of Michigan, Governor Gretchen Whitmer and

 Secretary of State Jocelyn Benson (the “Michigan Defendants”), also have moved for

 sanctions pursuant to Rule 11, the Court’s inherent authority, and under 28 U.S.C. §

 1927. See Dkt. #109. Also moving for sanctions are Pennsylvania Governor Tom Wolf

 and Pennsylvania’s former Secretary of the Commonwealth, Kathy Boockvar (the

 “Pennsylvania Defendants”). See Dkt. #101. The Pennsylvania Defendants’ sanctions

 motion differs only in that they do not seek sanctions under Rule 11 because Plaintiffs

 voluntarily dismissed the Pennsylvania Defendants from the case within the time

 provided under the safe-harbor provisions of that Rule.

         Plaintiffs have responded to the Defendants’ various motions for sanctions and

 the moving Defendants have filed replies. I held a hearing on the Motions on July 16,

 2021.

            2. Jurisdiction to hear Sanctions Motion

         While dismissal terminates a court’s subject-matter jurisdiction over the

 substantive merits of an action, the Court nonetheless “retains the inherent authority to

 issue orders on matters collateral to the merits.” Lundahl v. Halabi, 600 F. App’x 596,

 605 (10th Cir. 2014). This authority extends to conducting proceedings to address

 requests for sanctions and imposing “any sanction for abusive conduct for which




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 sanctions are authorized by the federal rules of procedure or federal statutes, including

 awarding costs or attorney’s fees.” Id. at 605–06.

        As the Supreme Court has explained in justifying the imposition of sanctions,

 even after a voluntary dismissal, on a plaintiff for filing a baseless complaint:

        The filing of complaints, papers, or other motions without taking the
        necessary care in their preparation is a separate abuse of the judicial
        system, subject to separate sanction. As noted above, a voluntary dismissal
        does not eliminate the Rule 11 violation. Baseless filing puts the machinery
        of justice in motion, burdening courts and individuals alike with needless
        expense and delay. Even if the careless litigant quickly dismisses the action,
        the harm triggering Rule 11’s concerns has already occurred. Therefore, a
        litigant who violates Rule 11 merits sanctions even after a dismissal.
        Moreover, the imposition of such sanctions on abusive litigants is useful to
        deter such misconduct. If a litigant could purge his violation of Rule 11
        merely by taking a dismissal, he would lose all incentive to “stop, think and
        investigate more carefully before serving and filing papers.”

 Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 399 (1990) (quoting Amendments to

 Federal Rules of Civil Procedure, 97 F.R.D. 165, 192 (1983) (Letter from Judge Walter

 Mansfield, Chairman, Advisory Committee on Civil Rules) (Mar. 9, 1982)).

        Accordingly, the Court retains jurisdiction to rule on Defendants’ motions for

 sanctions.

           3. The Lawsuit

        This lawsuit arises out of the 2020 election for President of the United States.

 The original Complaint (Dkt. #1) purported to be a class action lawsuit on behalf of all

 American registered voters, alleging a vast conspiracy between four governors,

 secretaries of state, and various election officials of Michigan, Wisconsin, Pennsylvania

 and Georgia; along with Dominion, a private supplier of election and voting technology;

 the social media company Facebook; CTCL, a non-profit organization dedicated to




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 making elections more secure and inclusive; as well as Facebook founder Mark

 Zuckerberg and his wife Priscilla Chan.

        I use the words “vast conspiracy” purposefully. The Complaint is one enormous

 conspiracy theory. And a conspiracy is what the original Complaint, all 84 pages and

 409-plus paragraphs, alleged: that “the Defendants engaged in concerted action to

 interfere with the 2020 presidential election through a coordinated effort to, among other

 things, change voting laws without legislative approval, use unreliable voting machines,

 alter votes through an illegitimate adjudication process, provide illegal methods of

 voting, count illegal votes, suppress the speech of opposing voices, disproportionally

 and privately fund only certain municipalities and counties, and other methods, all

 prohibited by the Constitution.” Dkt. #1 at 2, ¶ 4 (emphasis added).

        So, this was not a normal case in any sense. Plaintiffs purported to represent 160

 million American registered voters and came seeking a determination from a federal

 court in Colorado that the actions of multiple state legislatures, municipalities, and state

 courts in the conduct of the 2020 election should be declared legal nullities. See Dkt. #1

 at 83 (asking that the Court “[d]eclare the actions of the Defendants, as herein

 described, as unconstitutional and ultra vires, thereby making them legal nullities”). This

 presumably would have included the certification of the votes of the states and the

 subsequent inauguration of President Biden. See, e.g., Dkt. #1 at 50, ¶¶ 256–57

 (alleging that the “certification of the Election in Pennsylvania is unconstitutional” and

 that Pennsylvania’s certification of the Election “is void ab initio”); Id. at 58, ¶¶ 280–81

 (alleging that the certification of the election in Wisconsin was ultra vires,

 unconstitutional and “void ab initio”).




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         While Plaintiffs’ counsel insist that the lawsuit was not intended to challenge the

 election or reverse the results, the effect of the allegations and relief sought would be to

 sow doubt over the legitimacy of the Biden presidency and the mechanisms of

 American democracy (the actual systems of voting) in numerous states.

         In short, this was no slip-and-fall at the local grocery store. Albeit disorganized

 and fantastical, the Complaint’s allegations are extraordinarily serious and, if accepted

 as true by large numbers of people, are the stuff of which violent insurrections are

 made.

         The Complaint did seek, among other things, an injunction barring “any further

 unconstitutional behavior,” id. at 81, and “permanent injunctive relief to remedy the

 ongoing effects of Defendants’ unconstitutional conduct.” Id. at 83. But the requested

 injunctions aside, the main focus of the suit, at least as emphasized by Plaintiffs’

 counsel in argument, was a demand for a massive amount of money, likely greater than

 any money damage award in American history. Seeking a “nominal amount of $1,000

 per registered voter,” Plaintiffs asked for a total $160 billion for the putative 160-million-

 person Plaintiff class. Dkt. #1 at 82. This figure is greater than the annual GDP of

 Hungary.1

         According to the Complaint, it was filed “to give the people a civil mechanism to

 redress their grievances.” Id. Plaintiffs equated this purported massive civil rights lawsuit

 to a mass tort injury case where “a ladder was defectively designed and thousands

 were hurt” and “the manufacturer and others would likely be sued.” Id. Plaintiffs say they




         1See World Bank/OECD data showing Hungary’s 2020 GDP to be approximately
 $155 billion. https://data.worldbank.org/indicator/NY.GDP.MKTP.CD.


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 have “fallen off the ladder” and their goal is to ensure that “ladders manufactured in the

 future don’t have the same defects—or at least a warning label on the top step.” Id.

         The personal affidavits Plaintiffs attached to the original Complaint recount the

 generalized fear and suspicion that the “system” is rigged, and a sense that American

 democracy no longer works. The affidavits are notable only in demonstrating no

 firsthand knowledge by any Plaintiff of any election fraud, misconduct, or malfeasance.

 Instead, Plaintiffs’ affidavits are replete with conclusory statements about what must

 have happened during the election and Plaintiffs’ “beliefs” that the election was

 corrupted, presumably based on rumors, innuendo, and unverified and questionable

 media reports.

         For example, the affidavit of Amie Trapp, a resident of Alabama, recites,

         It is obvious our federal election has been tampered with and compromised
         by Dominion Voting Systems Inc, along with the founder of Facebook, Mark
         Zuckerberg, his wife Priscilla Chan, and many others acting as
         governors/secretaries of state across the country. Every day, we, as a
         country, find out more information about this corrupt system, Dominion, and
         the government officials who allow it.

 Dkt. #1-9 at 3, ¶¶ 7–8. Not stated is any nonconclusory basis for Ms. Trapp to believe

 this.

         The affidavit of Plaintiff Larry D. Cook of California presents similarly

 unconvincing allegations of election fraud, based solely on his belief (although Mr. Cook

 seems more distressed about mandatory vaccinations and the removal by Facebook of

 his posts related to vaccines and QAnon):

         I believe that there was widespread vote fraud and manipulation during the
         2020 Presidential Election and as such, this topic, along with the vaccination
         topic, along with the Qanon topic, as well as other ‘controversial topics,’
         should not be censored, ‘fact checked,’ deleted and/or result in a ban or
         permanent account deletion just because the topic at hand challenges the
         official narrative as presented in mainstream media, the Democrat Party,


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        the liability-free vaccine industry and other domestic and foreign controlling
        interests.

 Dkt. #1-6 at 7, ¶ 29. Mr. Cook provides no personal knowledge about any election fraud

 or impropriety.

        Alvin Criswell of Hutchinson County, Texas has similar unverified and nebulous

 complaints about the 2020 election:

        After much research and contemplation, it has come to my attention that the
        2020 general election, and probably many more, have been compromised
        by a number of persons, including a corporation in the United States called
        Dominion Voting Machines, Inc., and others, such as, Mark Zuckerberg and
        his wife, Priscilla Chan; and other individuals acting as governors and
        secretaries of state, including, Brian Kemp and Brad Raffensperger of
        Georgia, and Gretchen Whitmer and Jocelyn Bensen from Michigan.

 Dkt. #1-5 at 1, ¶ 6. Mr. Criswell, like all the other name plaintiffs, has no first-person

 knowledge whatsoever of any election malfeasance nor any evidence, direct or indirect,

 that his own vote was not counted or was inappropriately discounted.

           4. Plaintiffs’ Proposed Amended Complaint

        After the filing of the first few motions to dismiss, on March 15, 2021, Plaintiffs’

 sought leave to file an Amended Complaint. See Dkt. ##48 & 48-1. The proposed

 Amended Complaint would have added 152 additional registered voters as plaintiffs and

 upped the length to a total of 882 paragraphs and 114 pages.

        In connection with the Motion for Leave to Amend, Plaintiffs’ counsel Ernest

 Walker filed a declaration explaining,

        Since filing this lawsuit, Plaintiffs’ counsel and staff have been bombarded
        by inquiries and requests from citizens across the country seeking to
        become members of this lawsuit as Plaintiffs. Hundreds of phone calls and
        emails have been fielded, and tens of thousands have sought online
        information or to make personal donations of time or money to support
        Plaintiffs’ litigation.

 Dkt. #48-3 at 1, ¶¶ 2–3. Mr. Walker’s declaration continued,


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        Every individual who has made contact has universally believed that they
        had been damaged and expressed a deep sense of loss of trust and
        confidence in the electoral process, specifically caused by the actions of the
        named Defendants. . . . Practically everyone we spoke with were [sic]
        passionate about vindicating their rights and preventing the type of election
        we had in 2020 from ever happening again.

 Id. at 2, ¶¶ 6 & 9.

        The proposed Amended Complaint doubled down in making inflammatory

 accusations about the allegedly nefarious motives and intentions of the Defendants.

 See, e.g., Dkt. #48-1 at 9, ¶ 47 (“Dominion intentionally and purposefully designed its

 voting system with inherent errors to create systemic fraud and influence election

 results.”) (emphasis added); id., ¶ 48 (“Dominion’s voting systems intentionally generate

 a high number of ballot errors.”) (emphasis added). The proposed Amended Complaint

 included allegations that Facebook, non-profit CTCL, and Facebook’s founder Mark

 Zuckerberg and his wife, Priscilla Chan, were involved in a racketeering conspiracy to

 work behind the scenes to “influence perceptions, change rules and laws, steer media

 coverage and control the flow of information,” all for the common purpose of influencing

 a Presidential election. Id. at 5, ¶¶ 13–14. The proposed Amended Complaint accused

 Facebook, at the direction of Zuckerberg, of “banning conservative and religious groups,

 promoting one political ideology, and censoring the speech of users who disagreed with

 the progressive ideals of the enterprise.” Id. at 7, ¶ 29. The Facebook/Zuckerberg/Chan

 plan allegedly included, among other things, the censoring of information from President

 Trump and other information inconsistent with Facebook’s preferred electoral outcome

 by, for example, eliminating from the platform negative information about Hunter Biden.

 Id. at 43, ¶ 336 n.29.




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        The proposed Amended Complaint was to be a nationwide class action on behalf

 of “all registered voters who were eligible to cast a ballot in the 2020 election for

 President and Vice President.” Id. at 30, ¶ 240. Within this nationwide class, there were

 to be a number of subclasses, including a Republican Voter Subclass; a Democratic

 Voter Subclass; a Third-Party Voter Subclass; an Independent Voter Subclass; and a

 “Discouraged Voter” Subclass to include all registered voters who chose not to cast a

 ballot because they believed “the election process established to administer the 2020

 Presidential Election had been corrupted, and that their vote would be diluted, discarded

 or disregarded.” Id. at 30–31, ¶¶ 241–45.

        The proposed Amended Complaint also listed supposed common questions to

 be resolved in the class action including, among others,

        a.     Whether Defendants engaged in a scheme and enterprise to
        improperly interfere with the 2020 Presidential election, by the use of
        devices and methods that affected or diluted the Plaintiffs’ right to vote in a
        free and fair Presidential election;

        ...

        d.      Whether Defendants engaged in a conspiracy against the rights and
        liberties of registered voters by employing their scheme and enterprise
        aimed at the election machinery;

        ...

        g.     Whether Defendants engaged in a pattern and practice of
        electioneering and interference in the election process, aimed or directed to
        benefit one major political party, to the of determent [sic] the other, including
        third parties, thus affecting the integrity of the political and Presidential
        election process for all registered voters;

        ...

        k.     Whether Dominion, acting as a foreign entity to the United States,
        was influenced by foreign actors, participated with foreign actors to interfere




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        with, or allowed interference with the election process, to the determent of
        the national security of the United States;

        l.     Whether Facebook and Zuckerberg used its global presence as a
        social media platform to censor, limit access to, omit, conceal and tamper
        with political or dissenting speech in favor of one political ideology, over all
        others;

        ...

        s.     Whether the Defendant politicians, herein, knowingly participated in,
        or negligently allowed, the scheme and enterprise to interfere with, exercise
        control over, or manipulate ballot tabulation and transmission in their
        respective states;

        [and]

        u.    Whether the Defendant politicians ratified the enterprise’s pattern
        and practice of electioneering, manipulation of election laws, and numerous
        RICO violations.

 Id. at 31–34, ¶¶ 253(a)–(w).

        In support of its claims against Dominion, the Amended Complaint lists a series

 of supposed problems with the election machinery and ballot counting in, among other

 places, Maricopa County, Arizona (id. at 40–41, ¶ 306–14); Clark County, Nevada (id. at

 41, ¶ 315); Fulton County, Georgia (id., ¶ 316); Gwinnette County, Georgia (id., ¶ 317);

 and Antrim County, Michigan (id., ¶ 318).

        The proposed Amended Complaint continued to name state government officials

 as defendants and included allegations that the state government officials were part of

 the coordinated effort to fix the election. See. e.g., id. at 27–28, ¶¶ 218–29 (listing state

 government officials as defendants); id. at , ¶ 519 (alleging that the Secretary of State of

 Georgia “unconstitutionally certified the Election, under color of O.C.G.A. §§ 21-2-502,

 and his official authority”); id. at ,67 ¶ 532 (alleging that the Pennsylvania Secretary of




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 the Commonwealth, “without legislative approval, unilaterally abrogated several

 Pennsylvania statutes requiring signature verification for absentee or mail-in ballots”).

        Despite the numerous additional plaintiffs and the addition of RICO conspiracy

 claims, nothing about the proposed Amended Complaint addressed one critical

 deficiency emphasized in all Defendants’ dismissal motions: Plaintiffs’ lack of standing

 to bring suit under Article III of the Constitution. Also absent from the proposed

 Amended Complaint was any effort to address the conspicuous personal jurisdictional

 problems raised by suing, in federal court in Colorado, state government officials from

 Pennsylvania, Wisconsin, Georgia, and Michigan, for acts taken in connection with their

 official duties in those respective states.

        Defendants all opposed Plaintiffs’ Motion for Leave to Amend on futility grounds.

 See Dkt. #58 (Opposition by Defendants Kemp and Rafffensperger); Dkt. #59

 (Opposition by Boockvar and Wolf); Dkt. #60 (Opposition by Benson and Whitmer); Dkt.

 #61 (Opposition by Dominion); Dkt. #62 (Opposition by CTCL); & Dkt. #63 (Opposition

 by Facebook).

           5. Voluntary Dismissal of State Government Official Defendants

        On April 19, 2021, prior to my issuing the order of dismissal, Plaintiffs voluntarily

 dismissed all claims against the government officials from Michigan, Georgia,

 Pennsylvania, and Wisconsin. See Dkt. #82 (Notice of Voluntary Dismissal of Wisconsin

 Governor Tony Evers, and the members of the Wisconsin Elections Commission); Dkt.

 #83 (Notice of Voluntary Dismissal of Michigan Governor Gretchen Whitmer and

 Secretary of State Jocelyn Benson); Dkt. #84 (Notice of Voluntary Dismissal of Georgia

 Governor Brian Kemp and Secretary of State Brad Raffensperger); & Dkt. #85 (Notice




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 of Voluntary Dismissal of Pennsylvania Governor Tom Wolf and Secretary of the

 Commonwealth Kathy Boockvar).2 But, those voluntary dismissals came only after the

 State Official Defendants had filed their motions to dismiss and oppositions to the

 Motion for Leave to Amend. After all, in the proposed Amended Complaint, Plaintiffs’

 counsel had still included the state officials as defendants.

            6. Basis for Order Dismissing the Suit—Lack of Constitutional Standing

        The most patent deficiency in Plaintiffs’ wide-ranging, scatter-shot Complaint was

 the individual Plaintiffs’ lack of standing.

        “[S]tanding ‘is an essential and unchanging part of the case-or-controversy

 requirement of Article III.’” S. Utah Wilderness All. v. Palma, 707 F.3d 1143, 1153 (10th

 Cir. 2013) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). As explained in

 more detail in the order dismissing the case and denying leave to amend (Dkt. #92), the

 Plaintiffs’ grievances about the 2020 Presidential election were generalized and equally

 applicable to every registered voter. Every registered voter was similarly affected by the

 alleged misconduct.




        2  Each of these voluntary dismissals reflected the signatures of Plaintiffs’ counsel
 and counsel for the named governmental defendants and, by rule, would be effective on
 filing. See Fed. R. Civ. P. 41(a)(1)(A)(ii). There was a dispute about the purported
 dismissal of Pennsylvania Defendants. Although the dismissal notice bore the signature
 of the Chief Deputy Attorney General from Pennsylvania’s Office of Attorney General,
 (see Dkt. #85), on April 20, 2021, the Pennsylvania Defendants filed a document
 explaining that they had not stipulated to dismissal without prejudice, and, instead, had
 been only prepared to agree to a dismissal with prejudice, and that the dismissal should
 also include Pennsylvania Attorney General Josh Shapiro, who was named as a
 defendant in the proposed amended complaint. The Pennsylvania Defendants also
 made clear they were reserving the right to request the imposition of sanctions against
 Plaintiffs based on the Court’s inherent authority. See Dkt. #86. Plaintiffs followed up on
 April 20, 2021 by filing their own Motion for an Order voluntarily dismissing the
 Pennsylvania Defendants without prejudice. See Dkt. #87.


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        It is binding Supreme Court precedent that such generalized grievances about

 the conduct of an election cannot be the basis for a federal lawsuit. The constitutional

 standing requirement demands particularized individual injury. The claimed injury

 cannot be generalized, affecting everyone in the same way:

        We have consistently held that a plaintiff raising only a generally available
        grievance about government—claiming only harm to his and every citizen’s
        interest in proper application of the Constitution and laws, and seeking relief
        that no more directly and tangibly benefits him than it does the public at
        large—does not state an Article III case or controversy.

 Lance v. Coffman, 549 U.S. 437, 439 (2007) (per curiam) (quoting Lujan, 504 U.S. at

 573–74); see also Chiles v. Thornburgh, 865 F.2d 1197, 1205–06 (11th Cir. 1989)

 (explaining that an injury to the right “to require that the government be administered

 according to the law” is a generalized grievance).

        The Supreme Court in Lance v. Coffman was specific that a case where voters

 allege only that the law (in that case the Elections Clause) has not been followed will not

 support standing to sue:

        [T]he problem with this allegation should be obvious: The only injury
        plaintiffs allege is that the law—specifically the Elections Clause—has not
        been followed. This injury is precisely the kind of undifferentiated,
        generalized grievance about the conduct of government that we have
        refused to countenance in the past. It is quite different from the sorts of
        injuries alleged by plaintiffs in voting rights cases where we have found
        standing. See, e.g. Baker v. Carr, 369 U.S. 186, 207–208, 82 S. Ct. 691, 7
        L. Ed. 2d 663 (1962). Because plaintiffs assert no particularized stake in the
        litigation, we hold that they lack standing to bring the Elections Clause claim.

 549 U.S. at 1198.

        Numerous other cases involving the 2020 Presidential election featured claims

 similar to the instant case and many of them cited in my order of dismissal found lack of

 standing because the plaintiffs made generalized, non-individual, complaints about how




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 the election was conducted. This includes cases where the plaintiffs purported to be

 registered voters, just like Plaintiffs here. See In Donald J. Trump for President, Inc. v.

 Cegavske, 488 F. Supp. 3d 993, 1004 (D. Nev. 2020) (dismissing lawsuit against

 Nevada’s Secretary of State that sought to challenge a Nevada law that expanded mail-

 in voting due to the COVID-19 pandemic); Bowyer v. Ducey, 506 F. Supp. 3d 699, 711

 (D. Ariz. 2020) (holding inadequate claims under both the Elections Clause and the

 Equal Protection Clause based on vote dilution, agreeing that Plaintiffs lack standing to

 assert these claims and pointing out that “these allegations are nothing more than

 generalized grievances that any one of the 3.4 million Arizonans who voted could make

 if they were so allowed”); King v. Whitmer, 505 F.Supp.3d 720, 735–36 (E.D. Mich.

 2020) (rejecting lawsuit brought by registered Michigan voters and nominees of the

 Republican Party to be Presidential Electors bringing claims of widespread voter

 irregularities and fraud in the 2020 general election, in part on the ground that where

 “the only injury Plaintiffs have alleged is the Elections Clause has not been followed, the

 United States Supreme Court has made clear that ‘[the] injury is precisely the kind of

 undifferentiated, generalized grievance about the conduct of government that [courts]

 have refused to countenance’”) (quoting Lance, 549 U.S. at 442)); Feehan v. Wis.

 Elections Comm’n, 506 F.Supp.3d 596, 609 (E.D. Wis. Dec. 9, 2020) (dismissing for

 lack of standing suit alleging the election was the subject of wide-spread ballot fraud

 and explaining that “[t]he plaintiff’s alleged injuries are injuries that any Wisconsin voter

 suffers . . . . The plaintiff has not alleged that, as a voter, he has suffered a

 particularized, concrete injury sufficient to confer standing.”).




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        Similar standing problems resulted in the dismissal of suits, like this one, seeking

 to find fault with CTCL grants to municipalities. See, e.g., Tex. Voters All. v. Dallas

 Cnty., 495 F. Supp. 3d 441, 452 (E.D. Tex. 2020) (denying motion for temporary

 restraining order in a suit brought by voters under the Elections Clause, Supremacy

 Clause and Help Americans Vote Act and finding plaintiffs lacked standing to challenge

 the counties’ acceptance of the CTCL grants because the injury claimed was an

 “undifferentiated, generalized grievance about the conduct of government” and “merely

 alleging that the grants may influence the election result and lead to possible

 disenfranchisement is not an injury-in-fact”); Iowa Voter All. v. Black Hawk Cnty., C20-

 2078-LTS, 2021 WL 276700, at *7 (N.D. Iowa January 27, 2021) (dismissing lawsuit

 brought by voters and a voter group, which sought to challenge Iowa counties’

 acceptance of CTCL grants, finding none of plaintiffs alleged an injury in fact, as they

 had done no more than assert generalized grievances against government conduct of

 which they did not approve).

        Plaintiffs’ effort to distinguish this case from what I referred to as a “veritable

 tsunami” of adverse precedent (Dkt. #92 at 17) was not just unpersuasive but crossed

 the border into the frivolous. Plaintiffs argued, first, that this lawsuit was against

 corporations, not state actors or agencies, making it somehow qualitatively different

 from the many other dismissed election suits. This argument ignores that, as filed, this

 suit was brought against several state government officials who, the original Complaint

 made clear, were acting under color of state law. See, e.g., Dkt. #1 at 5, ¶ 23 (suing

 Tom Wolf, “personally liable for her [sic] individual conduct, acting under color of his

 official authority as Governor of the Commonwealth of Pennsylvania”). This argument




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 was also self-contradictory because the Complaint specifically alleged that Dominion,

 CTCL, and Facebook could be charged with violations of constitutional rights because

 they were working so closely with the states that they should be treated as state actors.

 See id. at 17, ¶ 82 (citing Blum v. Yaretshy, 457 U.S. 991, 1004 (1982), for proposition

 that a “private corporation can be fairly be said to be a state actor for purposes of the

 Civil Rights Act, if there is a sufficiently close nexus between the state and the

 challenged action of the private entity, so that the action of the latter may fairly be

 treated as that of the state itself”). Thus, Plaintiffs argued that they had standing

 because they were suing private companies rather than government entities, but

 Plaintiffs’ claims of civil rights violations were based on the allegations that the private

 companies should be treated as state actors.

        The other problem with this argument is that it has been explicitly rejected by the

 Supreme Court. Whether a plaintiff has alleged a cognizable injury-in-fact sufficient for

 Article III standing “does not depend on the defendant’s status as a governmental

 entity.” See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 104 n.5 (1998). Indeed,

 “there is no conceivable reason why it should.” Id.

        Plaintiffs’ second basis for distinguishing this case from the innumerable similar

 cases dismissed for lack of standing was that, in this case, Plaintiffs were not trying to

 overturn the election or obtain an injunction, but instead were seeking damages for

 violation of their rights. This argument makes little sense as a basis for establishing the

 personalized injury requirement for Article III standing.

        First, Plaintiffs in fact were seeking injunctive relief in addition to monetary

 damages. See Dkt. 1 at 79, ¶ 408 (seeking “permanent injunctive relief against the




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 Defendants to enjoin them from continuing to burden the rights of the Plaintiffs and all

 similarly situated registered voters”). So, to say that this Complaint was different

 because all the other cases sought injunctive relief is not convincing.

        That Plaintiffs sought money damages is no more persuasive of a distinction.

 Standing requires particularized, concrete individual injury. Whether a plaintiff is seeking

 damages or an injunction as a remedy is irrelevant to whether she has suffered a

 sufficiently particularized injury. For Article III standing purposes, seeking an award of

 damages rather than (or in addition to) an injunction does not change a generalized

 complaint into a specific particularized injury. The Supreme Court recently made this

 clear in the case of Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2021), where the Court

 specified that while a request for nominal damages may satisfy the redressability

 element of Article III standing, the other elements of standing, “such as a particularized

 injury,” still need to be present. 141 S. Ct. at 802.

        Thus, I dismissed the case for lack of Article III standing and denied leave to

 amend on the grounds of futility. See generally Dkt. #92. Nothing about the proposed

 Amended Complaint solved the manifest lack of standing. Id. at 27. Because the case

 was dismissed for lack of standing, in the order dismissing the case I chose not to

 address the numerous other problems Defendants had identified with the Complaint,

 such as lack of personal jurisdiction. Id. at 28.

        In Collins v. Daniels, the Tenth Circuit affirmed an award of sanctions in a case

 where the plaintiffs’ attorney had sued without any “objectively reasonable basis for

 asserting standing to sue.” 916 F.3d 1302, 1321 (10th Cir. 2019). Parties had been

 added as defendants for improper political reasons “rather than to advance colorable




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 claims for judicial relief.” Id. The Collins plaintiffs’ standing arguments ignored

 controlling precedent and, when confronted with binding authorities in the defendants’

 motion to dismiss and motion for Rule 11 sanctions, the plaintiffs “unreasonably

 attempted to distinguish themselves from the plaintiffs” in those other binding cases. Id.

 Defendants seek sanctions in the instant case for many of the same reasons sanctions

 were awarded in Collins.

            7. No Basis for Personal Jurisdiction over State Government Officials

        While I did not address lack of personal jurisdiction in my dismissal order, this

 was another patent deficiency in the Complaint (and the proposed Amended

 Complaint), most especially with respect to the claims filed against the State Official

 Defendants. It should have been as obvious to Plaintiffs’ counsel as it would be to a

 first-year civil procedure student that there was no legal or factual basis to assert

 personal jurisdiction in Colorado for actions taken by sister states’ governors,

 secretaries of state, or other election officials, in those officials’ home states.

        The governors and secretaries of state sued in this case are public servants of

 their respective home states. This Court could exercise personal jurisdiction over them

 only if the State Official Defendants had purposefully directed activity toward Colorado

 and the injuries alleged in this case related to that targeted activity. Burger King Corp. v.

 Rudzewicz, 471 U.S. 462, 472 (1985). Those things did not happen.

        A district court may not exercise jurisdiction over an out-of-state defendant

 unless the plaintiff establishes that the state in which the court is based would allow the

 exercise of jurisdiction, and also that exercising jurisdiction would not offend the Due

 Process Clause. Med. Werks, LLC v. CeramTec GMBH, 937 F.3d 1319, 1322 (10th Cir.




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 2019). Because Colorado asserts jurisdiction over out-of-state defendants to the

 maximum extent allowed under the Due Process Clause, in this case the two inquiries

 are the same.

        Due process allows jurisdiction over an out-of-state defendant only if “the

 defendant purposefully established minimum contacts within the forum State and the

 assertion of personal jurisdiction would comport with fair play and substantial justice.”

 Old Republic Ins. Co. v. Cont’l Motors, Inc., 877 F.3d 895, 903 (10th Cir. 2017)

 (quotation marks and citations omitted). An out-of-state defendant whose contact with

 the forum state is “continuous and systematic” may be subject to that state’s jurisdiction

 for all purposes. Id. at 903–04. Otherwise, case-specific jurisdiction is limited to when

 the out-of-state defendant has “purposefully directed its activities at residents of the

 forum state,” and the plaintiff’s injuries arise from those forum-related activities. Id.

 (citation omitted). The purposeful direction doctrine prevents defendants from being

 forced to appear based on “‘random, fortuitous, or attenuated contacts’ with the forum

 state.” Floyd’s 99 Holdings, LLC v. Jude’s Barbershop, Inc., 989 F. Supp. 2d 1202, 1207

 (D. Colo. 2012) (citing Dudnikov v. Chalk & Vermillion Fine Arts, Inc., 514 F.3d 1063,

 1070 (10th Cir. 2008)).

        Here, the actions of the defendant governors, secretaries of state, and elections

 officials are all alleged to have occurred only in the home states of those various

 officials. See Dkt. #1 at 23–33, ¶¶ 127–90 (allegations regarding conduct of Michigan

 officials); id. at 34–41, ¶¶ 191–213 (regarding Georgia); id. at 42–50, ¶¶ 214–57

 (regarding Pennsylvania); and id. at 51–58, ¶¶ 258–81 (regarding Wisconsin). The

 alleged acts in all four states pertained to the casting and counting of ballots and the




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 certification of the results. The administration of elections in Michigan, Georgia,

 Pennsylvania, or Wisconsin is not, and could not conceivably be found to be, “activity

 directed” at Colorado.

        Using Pennsylvania as an example, Plaintiffs never alleged a single fact

 suggesting that the Pennsylvania Defendants took any action having any connection

 whatsoever to Colorado. All the allegations related to the administration of an election in

 Pennsylvania, for Pennsylvanians, and relying on Pennsylvania law.

        When asked at the July 16 oral argument, Plaintiffs’ counsel could cite no case in

 United States legal history where a state official had been sued successfully in the

 federal court of another state for on-the-job actions taken in the official’s home state.

 See July 16, 2021 Hr’g Tr. 44:22–45:14, Dkt. #133 (“I can’t think of one.”).

        And when further asked about the good faith legal basis for bringing claims

 against these state officials in Colorado rather than their home states, defense counsel

 Fielder explained, “Well, when they filed the motions [to dismiss] we researched it, we

 looked into it, we could not feel with certainty that we could establish personal

 jurisdiction.” Id. 45:24–46:3. After supposedly doing that research, Plaintiffs voluntarily

 dismissed the State Official Defendants. When asked why it took motions to dismiss

 before Plaintiffs’ counsel researched the question of personal jurisdiction, and why the

 research had not been conducted prior to the filing of the lawsuit, Mr. Fielder had no

 rational answer. Id. 46:4–16. As described in more detail below, there was no urgency

 associated with filing this lawsuit. Any necessary research should have happened

 before filing the suit, not after.




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        In opposing the State officials’ motions for sanctions, Plaintiffs’ counsel has

 repeatedly noted that personal jurisdiction can be waived, and Plaintiffs voluntarily

 dismissed the State Official Defendants after it became was clear the state officials

 would not waive personal jurisdiction. See Resp. to Mich. Defs.’ Mot. for Sanctions, Dkt.

 #127 at 5 (“Instead, when it became clear that these Defendants would not voluntarily

 appear in their individual capacities, Plaintiffs ended that battle, here in the District of

 Colorado.”). But it is inconceivable to have ever thought that state officials of

 Pennsylvania or Michigan would voluntarily waive personal jurisdiction and come to a

 Colorado federal court to answer charges about acts taken during the administration of

 Pennsylvania or Michigan elections.

        Filing a lawsuit against an out-of-state defendant with no plausible good faith

 justification for the assertion of personal jurisdiction or venue is sanctionable conduct.

 See, e.g., Boyer v. BNSF Ry. Co., 824 F.3d 694 (7th Cir. 2016) (holding that attorney’s

 decision to file negligence action in Arkansas state court, despite nothing tying lawsuit

 to Arkansas, was sanctionable); Levine v. FDIC, 2 F.3d 476, 478 (2d Cir. 1993)

 (imposition of sanctions proper given that plaintiff’s assertion of personal jurisdiction

 over defendant was without factual basis); Novoselsky v. Zvunca, 324 F.R.D. 197, 206

 (E.D. Wis. 2017) (finding a Rule 11 sanction award appropriate in part because

 “personal jurisdiction over [defendants] was not plausible in this case”). My colleague,

 Judge William J. Martinez, recently issued such a sanction, awarding attorneys’ fees

 under the Court’s inherent power after a case had been voluntarily dismissed. See

 Jamieson v. Hoven Vision LLC, No. 20-cv-1122-WJM-KLM, 2021 WL 1564788 (D. Colo.

 April 21, 2021). In Jamieson, the defendant had little to no connection to Colorado and




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 the action did not arise out of those putative connections. Judge Martinez therefore

 rejected the notion that plaintiff’s counsel “commenced the lawsuit with a legitimate

 belief that personal jurisdiction existed.” Nor could plaintiff’s counsel in that case

 demonstrate any basis in law or fact to conclude that personal jurisdiction did exist.

 2021 WL 1564788, at *2. With respect to the State Official Defendants and the

 groundless asserted basis for personal jurisdiction, the circumstances in Jamieson

 parallel those of this case.

           8. Legal Standards for Imposing Sanctions

                   a. Federal Rule of Civil Procedure 11

        Rule 11(b) provides:

               By presenting to the court a pleading, written motion, or other
        paper—whether by signing, filing, submitting, or later advocating it—an
        attorney or unrepresented party certifies that to the best of the person’s
        knowledge, information, and belief, formed after an inquiry reasonable
        under the circumstances:

                 (1) it is not being presented for any improper purpose, such as to
        harass, cause unnecessary delay, or needlessly increase the cost of
        litigation;

               (2) the claims, defenses, and other legal contentions are warranted
        by existing law or by a nonfrivolous argument for extending, modifying, or
        reversing existing law or for establishing new law;

              (3) the factual contentions have evidentiary support or, if specifically
        so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and

                (4) the denials of factual contentions are warranted on the evidence
        or, if specifically so identified, are reasonably based on belief or a lack of
        information.

 Fed. R. Civ. P. 11(b) (emphasis added). “If, after notice and a reasonable opportunity to

 respond, the court determines that Rule 11(b) has been violated, the court may impose




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 an appropriate sanction on any attorney, law firm, or party that violated the rule or is

 responsible for the violation.” Fed. R. Civ. P. 11 (c)(1).

        The “central purpose of Rule 11 is to deter baseless filings in district court” and

 “streamline the administration and procedure of the federal courts.” Cooter & Gell, 496

 U.S. at 393. Where, as here, a complaint is the primary focus of a Rule 11 proceeding,

 “a district court must conduct a two-prong inquiry to determine (1) whether the complaint

 is legally or factually ‘baseless’ from an objective perspective, and (2) if the attorney has

 conducted ‘a reasonable and competent inquiry’ before signing and filing it.” Christian v.

 Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (quoting Buster v. Greisen, 104 F.3d

 1186, 1190 (9th Cir. 1997)).

        The Court determines the reasonableness of an inquiry by applying an objective

 standard. See Bus. Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533,

 548-50 (1991). The test, as the Tenth Circuit puts it, is “whether a reasonable attorney

 admitted to practice before the district court would file such a document.” Predator Int’l,

 Inc. v. Gamo Outdoor USA, Inc., 793 F.3d 1177, 1182 (10th Cir. 2015) (quoting

 Adamson v. Bowen, 855 F. 2d 668, 673 (10th Cir. 1988)). The signer has a “personal,

 nondelegable responsibility” to comply with the requirements of Rule 11 before signing

 a complaint. Pavelic & LeFlore v. Marvel Entertainment Group, 493 U.S. 120, 127

 (1989). But, because the adversary system expects lawyers to zealously represent their

 clients, the Rule 11 standard is tough to satisfy. An attorney “can be rather aggressive

 and still be reasonable.” Collins, 916 F.3d at 1320 (citing Adamson, 855 F. 2d at 673)).

        Plaintiffs’ counsel insisted at oral argument that they genuinely believe the factual

 allegations and legal contentions in the Complaint. But “belief” alone cannot form the




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 foundation for a lawsuit. An “empty-head” but “pure-heart” is no justification for patently

 frivolous arguments or factual assertions. Collins, 916 F.3d at 1320. The belief must be

 a “substantiated belief.” Cooter & Gell, 496 U.S. at 394.

        Thus, a critical piece of the Rule 11 sanction determination is whether an

 attorney’s beliefs as to the law and the facts were formed after “an inquiry reasonable

 under the circumstances.” The Advisory Committee note to the 1983 Amendment to

 Rule 11 attempts to explain what constitutes a “reasonable” inquiry:

        The rule is not intended to chill an attorney’s enthusiasm or creativity in
        pursuing factual or legal theories. The court is expected to avoid using the
        wisdom of hindsight and should test the signer’s conduct by inquiring what
        was reasonable to believe at the time the pleading, motion, or other paper
        was submitted. Thus, what constitutes a reasonable inquiry may depend on
        such factors as how much time for investigation was available to the signer;
        whether he had to rely on a client for information as to the facts underlying
        the pleading, motion or other paper; whether the pleading, motion or other
        paper was based on a plausible view of the law; or whether he depended
        on forwarding counsel or another member of the bar.

 Fed. R. Civ. P. 11 advisory committee’s note to 1983 amendment.

        One federal appellate court has made clear that Rule 11 sanctions are not to be

 imposed just because a claim fails; the issue is whether the claims “are so obviously

 foreclosed by existing precedent as to make them legally indefensible.” Snow

 Ingredients, Inc. v. SnoWizard, Inc., 833 F.3d 512, 529 (5th Cir. 2016) (affirming denial

 of a sanction award in a civil RICO case). The Advisory Committee Note to the 1993

 Amendment describes the rule as requiring “litigants to ‘stop-and-think’ before initially

 making legal or factual contentions.” Fed. R. Civ. P. 11 advisory committee’s note to

 1983 amendment.

        If, under an objective standard, the signer has made a reasonable inquiry both as

 to the facts and the law at the time a document was submitted,



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        subsequent developments showing the signer’s position was incorrect will
        not subject the signer to Rule 11 sanctions for having submitted the
        document. On the other hand, a signer making in inadequate inquiry into
        the sufficiency of the facts and law underlying a document will not be saved
        from a Rule 11 sanction by the stroke of luck that the document happened
        to be justified.

 Garr v. U.S. Healthcare, Inc., 22 F.3d 1274, 1279 (3rd Cir. 1994); see also Vista Mfg.,

 Inc. v. Trac-4 Inc., 131 F.R.D. 134, 138 (N.D. Ind. 1990) (“A shot in the dark is a

 sanctionable event, even if it somehow hits the mark.”). But see Magnus Elecs. V.

 Masco Corp. of Indiana, 871 F.2d 626, 629 (7th Cir. 1989) (for purposes of Rule 11,

 “[a]n attorney takes a frivolous position if he fails to make a reasonable inquiry into facts

 (which later prove false) or takes a position unwarranted by existing law or a good faith

 argument for its modification”).

        The Second Circuit has explained that a claim runs afoul of Rule 11 when one of

 the following situations exists: “(1) a reasonable inquiry into the basis for a pleading has

 not been made; (2) under existing precedents there is no chance of success; or (3) no

 reasonable argument has been advanced to extend, modify or reverse the law as it

 stands.” Int’l Shipping Co., S.A. v. Hydra Offshore, Inc., 875 F.2d 388, 390 (2d Cir.),

 cert. denied, 493 U.S. 1003 (1989).

                   b. The Court’s Inherent Authority to Sanction an Attorney

        Federal courts have certain “inherent powers” which are not conferred by rule or

 statute “to manage their own affairs so as to achieve the orderly and expeditious

 disposition of cases.” Link v. Wabash R.R. Co., 370 U.S. 626, 630–31 (1962). Among

 these powers is a court’s “ability to fashion an appropriate sanction for conduct which

 abuses the judicial process.” Chambers v. NASCO, Inc., 501 U.S. 32, 44–45 (1991);




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 see also Rice v. NBCUniversal Media, LLC, 2019 WL 3000808, at *3–4 (S.D.N.Y. July

 10, 2019) (imposing sanctions pursuant to court’s inherent powers).

         “Because of their very potency, inherent powers must be exercised with restraint

 and discretion.” Chambers, 501 U.S. at 44. But it is undisputed that “a court may assess

 attorney’s fees when a party has ‘acted in bad faith, vexatiously, wantonly, or for

 oppressive reasons.’” Id. at 45–46 (quoting Alyeska Pipeline Serv. Co. v. Wilderness

 Society, 421 U.S. 240, 258-59 (1975)).

         One permissible sanction is an assessment of attorneys’ fees, requiring the party

 that has engaged in misconduct to reimburse the legal fees and costs of the other party.

 Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017). Such a sanction

 must be compensatory rather than punitive in nature, and any attorneys’ fee award is

 limited to the fees “the innocent party incurred solely because of the misconduct—or put

 another way, to the fees that party would not have occurred but for the bad faith.” Id. at

 1184.

         Unlike Rule 11, sanctions under the Court’s inherent authority appear to require a

 finding of bad faith on the part of the attorney to be sanctioned. See Farmer v. Banco

 Popular of North America, 791 F.3d 1246 (10th Cir. 2015) (upholding sanction award

 under the Court’s inherent authority finding bad faith by a party in failing to comply with

 order enforcing settlement); Chambers, 501 U.S. 32 (1991) (holding there was no abuse

 of discretion in district court’s resort to inherent power to impose sanctions for bad-faith

 conduct, even though some conduct was also sanctionable under the rules of civil

 procedure).

                   c. Sanctions under 28 U.S.C. § 1927




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          28 U.S.C. § 1927 provides that “[a]ny attorney . . . who so multiplies the

 proceedings in any case unreasonably and vexatiously may be required by the court to

 satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred

 because of such conduct.” Given this statutory language, “[a] court may assess

 attorney[s’] fees against an attorney under § 1927 if (a) the actions of the attorney

 multiply the proceedings, and (b) the attorney’s actions are vexatious and

 unreasonable.” Shackelford v. Courtesy Ford, Inc., 96 F. Supp. 2d 1140, 1144 (D. Colo.

 2000).

          “Actions are considered vexatious and unreasonable if the attorney acts in bad

 faith . . . or if the attorney’s conduct constitutes a reckless disregard for the duty owed

 by counsel to the court.” Id. The attorney’s conduct is judged objectively; subjective bad

 faith is not required to justify § 1927 sanctions. See Hamilton v. Boise Cascade Exp.,

 519 F.3d 1197, 1203 (10th Cir. 2008) (“Where, ‘pure heart’ notwithstanding, an

 attorney’s momentarily ‘empty head’ results in an objectively vexatious and

 unreasonable multiplication of proceedings at expense to his opponent, the court may

 hold the attorney personally responsible.”).

          In Miera v. Dairyland Ins. Co., 143 F.3d 1337 (10th Cir. 1998), the Tenth Circuit

 listed the categories of conduct that might justify the imposition of sanctions under

 §1927. These include:

          •   acting recklessly or with indifference to the law, as well as by acting in the
              teeth of what he knows to be the law;

          •   when an attorney is cavalier or “bent on misleading the court;”

          •   intentionally acts without a plausible basis;

          •   when the entire course of the proceedings was unwarranted;


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        •   or when certain discovery is substantially unjustified and interposed for the
            improper purposes of harassment, unnecessary delay and to increase the
            costs of the litigation.

 143 F.3d at 1342; see also Steinert v. Winn Grp., Inc., 440 F.3d 1214, 1221 (10th

 Cir. 2006) (same).

        That said, in the Tenth Circuit, the standard for imposing sanctions for

 unreasonably and vexatiously multiplying proceedings is an “extreme standard,” and

 fees should be awarded as a sanction “only in instances evidencing a serious and

 standard disregard for the orderly process of justice.” Baca v. Berry, 806 F.3d 1262,

 1268 (10th Cir. 2015) (quoting AeroTech, Inc. v. Estes, 110 F.3d 1523, 1528 (10th Cir.

 1997) (internal quotation marks omitted)). Thus, courts must “strictly construe[ ]” the

 statute to guard against “dampen[ing] the legitimate zeal of an attorney in representing

 his client.” Braley v. Campbell, 832 F.2d 1504, 1512 (10th Cir. 1987) (en banc).

        Under § 1927, courts need not find that an attorney subjectively acted in bad

 faith. Rather, “any conduct that, viewed objectively, manifests either intentional or

 reckless disregard of the attorney’s duties to the court[ ] is sanctionable.” Hamilton, 519

 F.3d at 1202 (internal quotation marks omitted). The statute makes attorneys potentially

 liable for harm caused “because of” unreasonable and vexatious multiplication of

 proceedings. 28 U.S.C. § 1927. Thus, “there must be a causal connection between the

 objectionable conduct of counsel and multiplication of the proceedings,” such that the

 conduct “result[ed] in proceedings that would not have been conducted otherwise.”

 Peterson v. BMI Refractories, 124 F.3d 1386, 1396 (11th Cir. 1997); see also Lee v.

 First Lenders Ins. Servs., Inc., 236 F.3d 443, 445 (8th Cir. 2001).




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        The Seventh Circuit has articulated the standard for an award of sanctions under

 section 1927 as follows:

        If a lawyer pursues a path that a reasonably careful attorney would have
        known, after appropriate inquiry, to be unsound, the conduct is objectively
        unreasonable and vexatious. To put this a little differently, a lawyer engages
        in bad faith by acting recklessly or with indifference to the law, as well as by
        acting in the teeth of what he knows to be the law. . . .

 In re TCI Ltd., 769 F.2d 441, 445 (7th Cir. 1985)

        Ultimately, whether to award § 1927 sanctions is a matter committed to this

 Court’s discretion. Dominion Video Satellite, Inc. v. Echostar Satellite L.L.C., 430 F.3d

 1269, 1278–79 (10th Cir. 2005). “A court’s discretion to award fees is broad if it

 concludes an attorney acted in an objectively unreasonable way that multiplied

 proceedings.” Baca, 806 F.3d at 1269. But sanctions cannot be imposed for the

 initiation of proceedings because it is “not possible to multiply proceedings until after

 those proceedings have begun.” Id. at 1225.

           9. The Circumstances of this Case Mandated Significant Factual Inquiry
              before either Filing in the First Place or Seeking to Amend.

        The overall circumstances surrounding the filing of a case are critical to the

 determination of whether sanctions should be awarded. Rule 11 specifically requires

 that the signing attorney certify to the non-frivolous nature of the legal and factual claims

 “after an inquiry reasonable under the circumstances.” Fed. R. Civ. P. 11(b) (emphasis

 added); see also Garr, 22 F.3d at 1279 (emphasizing that “inasmuch as the standard

 under Rule 11 is ‘fact specific,’ the court must consider all the material circumstances in

 evaluating the signer’s conduct.”). And, as Mr. Fielder has repeatedly claimed, the

 circumstances surrounding the filing of this lawsuit were “unprecedented.”




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                   a. The circumstances of this case both allowed for and mandated
                      significant diligence and investigation before filing suit.

        One circumstance that must be considered was whether Plaintiffs’ counsel was

 under any time pressure to file the Complaint—whether the statute of limitations was

 running or there was some emergency that required immediate filing before a detailed

 investigation into the veracity of the allegations could be completed. The answer to this

 question is an unequivocal “no.” As Plaintiffs’ counsel has emphasized, this was

 primarily a claim for damages for alleged civil rights violations as a result of the

 November 2020 election. There was nothing about a claim for damages that compelled

 it to be filed just weeks after the election in December 2020. Given the seriousness and

 scope of the allegations, extensive objective research into the legal basis for the claims

 and due diligence into the factual allegations should have occurred. And there was

 ample time for such investigation. There was no reason why Plaintiffs could not have

 waited for the completion of some of the state recounts and state-run investigations into

 alleged allegations of election-rigging.

        As to the facts alleged in the Complaint, as described in more detail below,

 Plaintiffs’ counsel should have been on notice as to the serious, publicly reported

 doubts as to the validity of election-rigging or election fraud allegations, and the

 associated importance of conducting extensive, objective, and independent due

 diligence before filing. Given the circumstances of this case, it was not enough to

 merely accept as true (or potentially true) what might be stated in the media, what had

 been pushed out over the Internet, or even what was included in other lawsuits filed

 around the country. Some effort at independent verification by the lawyers who signed

 the Complaint was required.



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        It must also be noted that this was not a client-driven lawsuit. As Plaintiffs’

 counsel, Mr. Fielder, conceded at the July 16 hearing, the lawsuit was his idea. Mr.

 Fielder and Mr. Walker were not relying on information from the named Plaintiffs to

 construct the suit or for any of the substantive factual allegations. Lawyers who

 conceive of a lawsuit seeking $160 billion dollars, making allegations questioning the

 validity of a Presidential election, and the fairness of the basic mechanisms of American

 democracy, must conduct extensive independent research and investigation into the

 validity of the claims before filing suit.

                    b. Plaintiffs’ counsel were on notice that numerous lawsuits
                       making similar allegations had failed—meaning that more
                       investigation was required.

        The 2020 election happened on November 3, 2020. Numerous lawsuits were

 filed before the election regarding state election processes, including challenges to mail-

 in ballots, alleged ballot harvesting, electronic voting processes, and allegedly illegal or

 unconstitutional efforts to ensure voting access in the face of the COVID-19 pandemic.

        After the election, more lawsuits were filed hoping to delay or stop the

 certification of certain states’ results. Uniformly, these dozens of suits (perhaps more

 than 80)3 failed, either for procedural deficiencies, lack of standing, or lack of proof. To




        3 See Jacob Shamsian and Sonam Sheth, Trump and His Allies Filed More Than
 40 Lawsuits Challenging the 2020 Election Results. All of Them Failed, Business Insider
 (February 22, 2021), https://www.businessinsider.com/trump-campaign-lawsuits-
 election-results-2020-11 (describing 13 failed lawsuits in Pennsylvania, four lawsuits in
 Nevada, five in Georgia, five in Michigan, four in Arizona, seven in Wisconsin and one in
 New Mexico); Amy Sherman and Miriam Valverde, Joe Biden is Right That More Than
 60 of Trump’s Election Lawsuits Lacked Merit, PolitiFact (January 8, 2021), https://
 www.politifact.com/factchecks/2021/jan/08/joe-biden/joe-biden-right-more-60-trumps-
 election-lawsuits-l/; Alison Durkee, Trump and The GOP Have Now Lost 50 Post-
 Election Lawsuits, Forbes (December 8, 2020), https://www.forbes.com/sites/


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 use Pennsylvania as an example, failed suits included Donald J. Trump for President,

 Inc. v. Boockvar, 502 F. Supp. 3d 899 (M.D. Pa. 2020); Donald J. Trump for President,

 Inc. v. Boockvar, 493 F. Supp. 3d 331 (W.D. Pa. 2020); Metcalfe v. Wolf, No. 636 M.D.

 2020, 2020 WL 7241120 (Pa. Commw. Ct. Dec. 9, 2020); Kelly v. Commonwealth, 240

 A.3d 1255 (Pa. 2020); In re Canvass of Absentee & Mail-in Ballots of Nov. 3, 2020 Gen.

 Election, 241 A.3d 1058 (Pa. 2020); In re Canvassing Observation, 241 A.3d 339 (Pa.

 2020); In re Nov. 3, 2020 Gen. Election, 240 A.3d 591 (Pa. 2020). The allegations about

 Pennsylvania in Plaintiffs’ Complaint are indistinguishable from those found in many of

 the failed lawsuits.

        Moreover, it is not true that all of the numerous cases were dismissed only on

 procedural or standing grounds. A number of cases seeking injunctive relief failed in

 part because of an inability to present convincing evidence of fraud or illegal conduct.

 See, e.g., Donald J. Trump for President, Inc. v. Sec’y of Pa., 830 F. App’x 377, 381

 (3rd. Cir. 2020) (“Free, fair elections are the lifeblood of our democracy. Charges of

 unfairness are serious. But calling an election unfair does not make it so. Charges

 require specific allegations and then proof. We have neither here.”) (emphasis added);

 Wis. Voters All. v. Pence, No. 20-3971 (JEB), 2021 WL 686359, at *1 (D.D.C. Feb. 19,

 2021) (in order referring plaintiff’s counsel to court’s grievance committee questioning

 why an election-challenge lawsuit spent 70+ pages on “irrelevant allegations of fraud,

 not one instance of which persuaded any court in any state to question the election’s

 outcome”) (emphasis added); King v. Whitmer, 505 F. Supp. 3d at 738 (finding no




 alisondurkee/2020/12/08/trump-and-the-gop-have-now-lost-50-post-election-lawsuits/
 ?sh=529cb6ac2960.


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 likelihood of success on the merits in challenge to 2020 Michigan election results,

 stating “[w]ith nothing but speculation and conjecture that votes for President Trump

 were destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’

 equal protection claim fails”). Given the seriousness of the instant lawsuit, the fact that

 lawsuits making the same substantive allegations had failed for lack of likely success on

 the merits should have been a strong warning sign to Plaintiffs’ counsel that they

 needed to do more than just rely on allegations or affidavits filed in other cases.

        Among the failed election-related suits were claims brought against municipalities

 who had received grants from CTCL seeking to bar the use of those donated funds on

 constitutional grounds. Plaintiffs make some of the same allegations in this lawsuit. On

 this issue, multiple federal courts have concluded that allegations regarding CTCL’s

 donations ‘are insufficient to adequately plead a constitutional violation. See, e.g., Tex.

 Voters All., 495 F. Supp. 3d at 453 (rejecting the plaintiffs’ argument “that the grants

 create a public-private partnership between the Counties and the CTCL that is

 constitutionally impermissible”); Iowa Voter All., 2021 WL 276700, at *5 n.3 (observing

 court was “thoroughly unconvinced that the counties violated any particular law by

 accepting the CTCL grants”); Wisc. Voters All. v. City of Racine, No. 20-C-1487, 2021

 WL 179166, at *3 (January 19, 2021) (rejecting on standing grounds claims alleging

 impropriety in a municipality’s acceptance of funds from private parties to help pay for

 the increased costs of conducting safe and efficient elections and concluding that any

 concerns would require a “legislative response”).

        The rejected post-election challenges also included the historic gambit by the

 state of Texas to have Pennsylvania, Michigan, Georgia, and Wisconsin’s election




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 results overturned by the U.S. Supreme Court. See Texas v. Pennsylvania, et al, 2020

 WL 7229714 (U.S.). Texas’ effort is notable because Plaintiffs’ Complaint duplicates

 almost verbatim many of the allegations from that failed Supreme Court case. See, e.g.,

 Dkt. #1 at 32, ¶ 130 (citing the Bill of Complaint filed in Texas v. Pennsylvania, 2020 WL

 7229714, at *24, ¶ 81, to the effect that Michigan Secretary of State Benson’s acts and

 omissions “did away with protections designed to deter voter fraud”); id., ¶ 131 (quoting

 the same pleading alleging that Secretary Benson’s “flooding of Michigan with millions

 of absentee ballot applications prior to the 2020 general election violated” Michigan

 law); id. at 35, ¶ 198 (quoting Texas’s Bill of Complaint and listing 17 alleged illegalities

 associated with Georgia’s election taken straight from the Texas v. Pennsylvania

 lawsuit); id. at 53, ¶ 272 (asserting that the reported results of Wisconsin’s election “are

 invalid” based upon “facts” alleged in paragraphs 104–08 of the Bill of Complaint); id. at

 46, ¶ 232 (citing paragraphs 43–61 of Texas’ Bill of Complaint to allege the existence of

 a supposedly “blatantly illegal” scheme in Pennsylvania involving, among other things,

 signature verification for absentee or mail-in ballots and the blocking of poll-watchers,

 which supposedly “renders all mail-in ballots constitutionally tainted”).

        By the time Plaintiffs filed their Complaint here, they had access to the state of

 Pennsylvania’s and other states’ responses to the Texas’ Bill of Complaint. In its

 response, Pennsylvania explained, with citation to Pennsylvania state court decisions

 and various federal court decisions, that most of Texas’ assertions of illegality in the

 conduct of Pennsylvania’s election were baseless as a matter of Pennsylvania state law

 as decided by the Pennsylvania Supreme Court.




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        In addition, Plaintiffs’ counsel should have known that they were taking an

 extreme risk in repeating the allegations from Texas’ Bill of Complaint because at the

 time Texas’ Bill was filed, it had been widely and publicly criticized by legal and ethics

 scholars. See Katie Buehler, Atty Group Wants Discipline of AGs Who Challenged

 Election, Law360 (Dec. 14, 2020) (quoting legal ethics expert Stephen Gillers as calling

 the Texas filing “a political campaign document in legal camouflage” and saying

 “[l]awyers who filed or joined it ill-treated the court, harmed the rule of law, and ill-served

 the public”). Constitutional scholar Lucas Powe of the University of Texas agreed,

 saying “Every constitutional lawyer knew the lawsuit was frivolous; the AG’s office

 should have known that, too.” Id.

        Continuing with the theme of litigation by “cut-and-paste,” Plaintiffs’ Complaint

 also cites twelve paragraphs from a failed Georgia lawsuit filed by attorney Sidney

 Powell, alleging that Georgia’s certification of the election was unconstitutional. See Dkt.

 #1 at 38 n.44, (citing the Complaint for Declaratory, Emergency, and Permanent

 Injunctive Relief filed in Pearson, et al., v. Kemp., Case 1:20-cv-04809-TCM (N.D. Ga.

 Nov. 25, 2020)). Among the allegations cut and pasted from the Pearson case include

 (1) that the software used in Georgia’s voting machines “was created to rig elections,

 facilitate vulnerability and to ‘allow a select few to determine which votes will be counted

 in any election’.” id. at 39, ¶ 203(h); and that there was a common scheme regarding

 the creation of the voting software “to manipulate elections, worldwide, e.g., in

 Venezuela.” Id., ¶ 203(i).

        In sum, Plaintiffs were or should have been on notice that the lawsuits from

 which they were copying had failed. Given the “cut-and-paste” nature of Plaintiffs’ own




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 filing, and the fact that many, if not all, of the prior lawsuits had been rejected on both

 procedural and substantive grounds, Plaintiffs’ counsel had a heightened duty of

 diligence and investigation before filing a copy-job pleading containing the same

 previously rejected theories and allegations. Lawyers acting in good faith and without

 any meaningful time constraints would have taken the time to do additional original

 research into the validity of the allegations they were repeating.

                   c. Both Independent and Republican Sources had Publicly
                      Refuted Claims that the Election had been “Rigged” or that
                      Dominion Machines had “Flipped” Votes.

        Beyond being on notice that the “fraud” and “rigging” allegations had been

 seriously questioned or rejected in the courts, Plaintiffs’ counsel also must have been

 aware that these same allegations had been, from the very beginning, extensively

 publicly rebutted by numerous independent (and even staunchly Republican) sources.

        For example, on November 12, 2020, the United States Cybersecurity &

 Infrastructure Security Agency (“CISA”), a federal agency created in 2018 to protect the

 nation’s critical infrastructure, issued a press release including a Joint Statement from

 Executive Committee of the Elections Infrastructure Government Coordinating Council.

 This Executive Committee included, among other people, the U.S. Election Assistance

 Commission Chair; the Chair of the National Association of Secretaries of State; the

 President of the National Association of State Election Directors; the Escambia County

 (Florida) Supervisor of Elections; and members of the Election Infrastructure Sector

 Coordinating Council. The statement read as follows:

               The November 3rd election was the most secure in American history.
        Right now, across the country, election officials are reviewing and double
        checking the entire election process prior to finalizing the result.




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               When states have close elections, many will recount ballots. All of
        the states with close results in the 2020 presidential race have paper
        records of each vote, allowing the ability to go back and count each ballot if
        necessary. This is an added benefit for security and resilience. This process
        allows for the identification and correction of any mistakes or errors. There
        is no evidence that any voting system deleted or lost votes, changed votes,
        or was in any way compromised.

                Other security measures like pre-election testing, state certification
        of voting equipment, and the U.S. Election Assistance Commission’s (EAC)
        certification of voting equipment help to build additional confidence in the
        voting systems used in 2020.

               While we know there are many unfounded claims and opportunities
        for misinformation about the process of our elections, we can assure you
        we have the utmost confidence in the security and integrity of our elections,
        and you should too. When you have questions, turn to elections officials as
        trusted voices as they administer elections.”

 Cybersec. & Infrastructure Sec. Agency, Joint Statement from Elections Infrastructure

 Government Coordinating Council & the Election Infrastructure Sector Coordinating

 Executive Committees (November 12, 2020), https://www.cisa.gov/news/2020/11/12/

 joint-statement-elections-infrastructure-government-coordinating-council-election.4

        Former President Trump’s Attorney General, William Barr, is on record

 repeatedly saying that, having investigated the claimed allegations of fraud and

 tampering, there was nothing to them. As early as December 1, 2020, Attorney General

 Barr, in an interview with the Associated Press, explained the Justice Department had

 uncovered no evidence of widespread voter fraud that could change the outcome of the

 2020 election. Attorney General Barr told the AP that U.S. attorneys and FBI agents


        4  The Court is entitled to take judicial notice of official government publications.
 See High Desert Relief, Inc. v. United States, 917 F.3d 1170, 1175 n.1 (court may take
 judicial notice of official government publications); Clappier v. Flynn, 605 F.2d 519, 535
 (10th Cir.1979) (court may take judicial notice of official governmental publications). See
 also Fed. R. Evid. 201(b)(2) (permitting courts to take notice of a “fact that is not subject
 to reasonable dispute because it ... can be accurately and readily determined from
 sources whose accuracy cannot reasonably be questioned”).


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 were working to follow up specific complaints and information they had received, but “to

 date, we have not seen fraud on a scale that could have effected a different outcome of

 the election.” Michael Balsamo, Disputing Trump, Barr Says No Widespread Election

 Fraud, AP News (December 1, 2020), https://apnews.com/article/barr-no-widespread-

 election-fraud-b1f1488796c9a98c4b1a9061a6c7f49d.

        Consistent with the federal CISA statement and the statements of Attorney

 General Barr, state governments have rejected the suggestion that election machines or

 electronic voting systems somehow failed or generated incorrect results. For example,

 in connection with the 2020 Presidential election, the State of Georgia conducted “the

 largest hand count of ballots in United States history,” with audit boards from all 159

 Georgia counties examining 41,881 batches, hand sorting and counting each ballot as

 part of the process. “The audit confirmed the original result of the election, namely that

 Joe Biden won the Presidential Contest in the State of Georgia.” Risk-Limiting Audit

 Report, Georgia Presidential Contest, November 2020 (Nov. 19, 2020), https://

 sos.ga.gov/admin/uploads/11.19_.20_Risk_Limiting_Audit_Report_Memo_1.pdf.

        Just days after the November 2020 election, the Michigan Senate Oversight

 Committee began an investigation into allegations that Michigan’s Presidential election

 was rigged. Plaintiffs filed their suit and served the Defendants rather than waiting for

 the outcome of this Michigan investigation. Allegations about election misconduct in

 Antrim County play a major part in Plaintiffs’ allegations about the State of Michigan in

 this case; Plaintiffs attached the so-called “ASOG Report” to their Complaint as

 evidence of Dominion malfeasance in Michigan. See, e.g, Dkt. #1 at 31, ¶¶ 173–75; Dkt.

 #1-10 (“Allied Security Operations Group” or “ASOG” Report prepared by Russell




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 Ramsland and purporting to have done a “forensic audit” of Dominion Voting Systems in

 Antrim County and concluding that “Dominion Voting System is intentionally and

 purposefully designed with inherent errors to create systemic fraud and influence

 election results”).

        On June 23, 2021, the Michigan Senate Oversight Committee issued a detailed,

 bipartisan, 55-page report that, while conceding certain weaknesses in the Michigan

 election system (such as lack of clarity in tabulation of ballots and unnecessary barriers

 to ensuring that every lawfully cast ballot is counted), ultimately concluded with a

 “finding that citizens should be confident the [reported election] results represent the

 true results of the ballots cast by the people of Michigan.” Michigan Senate Oversight

 Committee, Report on the November 2020 Election in Michigan (June 23, 2021).

        The Michigan Senate Oversight Committee investigation findings resulted “from

 28 hours of testimony from almost 90 individuals spanning nine committee hearings, the

 review of thousands of pages of subpoenaed documents from multiple government

 entities, hundreds of hours of Senate Staff investigation, and countless review of claims

 and concerns from Michigan residents.” Id. at 6. The “undeniable conclusion” was that

 “there is no evidence presented at this time to prove either significant acts of fraud or

 that an organized, wide-scale effort to commit fraudulent activity was perpetrated in

 order to subvert the will of Michigan voters.” Id.

        In a letter from the Chair of the Oversight Committee accompanying the

 Committee Report, Republican Senator Edward McBroom specifically emphasized the

 Committee’s conclusions regarding Antrim County:

        The strongest conclusion comes in regard to Antrim County. All compelling
        theories that sprang forth from the rumors surrounding Antrim County are



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        diminished so significantly as for it to be a complete waste of time to
        consider them further. Most of the rigorous debate over additional audits
        comes from fears surrounding the technology used and its vulnerabilities as
        allegedly demonstrated in Antrim County. Without any evidence to validate
        those fears, another audit, a so-called forensic audit [of the Michigan
        results], is not justifiable.

 Id. at 5 (emphasis added). The Committee Report provides a chart “clearly and

 concisely show[ing] that ideas and speculation that the Antrim County election workers

 or outside entities manipulated the vote by hand or electronically are indefensible.” Id. at

 16. Further, the Committee stated it “is appalled at what can only be deduced as a

 willful ignorance or avoidance of this proof perpetuated by some leading such

 speculation.” Id.

        As to the ASOG report that Plaintiffs attached to their Complaint (Dkt. #1-10),

 Michigan Bureau of Elections Director Jonathan Brater, referring to a previously

 unsigned version of the document, declared under oath in a Michigan court that it was

 apparent to him “that the [ASOG] report makes a series of unsupported conclusions,

 ascribes motives of fraud and obfuscation to processes that are easily explained as

 routine election procedures or error corrections, and suggests without explanation that

 elements of election software not used in Michigan are somehow responsible for

 tabulation or reporting.” Press Release from Offices Michigan Attorney General and

 Secretary of State, Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates

 Lack of Credible Evidence in Widespread Fraud or Wrongdoing, (December 14, 2020),

 https://www.michigan.gov/ag/0,4534,7-359-92297_47203-547422--,00.html.

        In addition, the expertise and credibility of the author of the ASOG report, Russell

 Ramsdale, was called into question after it was discovered that an affidavit he had

 submitted in L. Lin Wood’s lawsuit seeking to stop certification of Georgia’s vote which



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 claimed fraud in Michigan based on so-called “over-votes,” was simply wrong—it was

 the result of a confusion in population numbers from Michigan precincts with counties in

 Minnesota. See Savannah Behrmann, Trump Lawsuit Confuses Michigan and

 Minnesota Locations in Affidavit Claiming Voter Fraud,” USA TODAY (Nov. 20, 2020),

 https://www.usatoday.com/story/news/politics/elections/2020/11/20/trump-lawsuit-

 mixes-up-red-flags-michigan-minnesota/6362056002/; Louis Jacobson and Noah Y.

 Kim, Giulinani Cites Affidavit With Crucial Errors in Press Conference, Politifact (No. 20,

 2020), https://www.politifact.com/factchecks/2020/nov/20/rudy-giuliani/giuliani-cites-

 affidavit-crucial-errors-press-conf/ (explaining that Giuliani relied on Ramsdale affidavit

 to falsely claim over-voting in numerous Michigan precincts, where the affidavit wrongly

 was using population numbers from precincts located in Minnesota and not Michigan).5

        After the election and additional investigation into the numerous claims of

 election fraud and vote rigging, even media outlets usually perceived to be supportive of

 the former President publicly announced that they had seen no information or evidence

 to suggest that election machine companies were involved in election fraud. See

 Jemima McEvoy, Fox News, Newsmax Walk Back Election Fraud Claims after Voting

 Machine Manufacturer Threatens Legal Action, Forbes (Dec. 21, 2020), https://




        5  The Plaintiffs also attached to their Complaint, as purported evidence of fraud,
 the “Navarro Report,” a document published by Secretary of Commerce Peter Navarro.
 See Dkt. #1-11. Shortly after its publication, this Navarro Report was described in the
 Washington Post as a 30-page compilation of “President Trump’s voter-fraud greatest
 hits” and potentially “the most embarrassing document” ever created by a White House
 staffer, explaining that it threw out “as near-certainties things that are unfounded,
 misrepresented or unimportant.” See Phillip Bump, This Might Be the Most
 Embarrassing Document Created by a White House Staffer, Washington Post (Dec. 18,
 2020), https://www.washingtonpost.com/politics/2020/12/18/this-might-be-most-
 embarrassing-document-created-by-white-house-staffer/.


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 www.forbes.com/sites/jemimamcevoy/2020/12/21/fox-news-newsmax-walk-back-

 election-fraud-claims-after-voting-machine-manufacturer-threatens-legal-action/

 ?sh=2112d35fcfd2 (describing Fox News and Newsmax airing segments about

 companies Smartmatic and Dominion, describing the fraud claims made against the two

 companies, and confirming there is “no evidence” to support some of those claims);

 Eliza Relman and Jake Lahut, Pro-Trump Network Newsmax Airs 2-Minute Video

 Admitting It Has ‘No Evidence’ Of Outlandish Fraud Claims Against 2 Voting-Machine

 Companies, BusinessInsider.com (Dec. 21, 2020), https://www.businessinsider.com/

 newsmax-airs-election-fraud-correction-video-lawsuit-dominion-smartmatic-2020-12.

        Indeed, on May 5, 2021, Newsmax, which initially had amplified former President

 Trump’s allegations of election rigging and widespread fraud, made an apology, issuing

 a statement retracting allegations against Dominion and its employee. The statement

 reads in part,

               Since Election Day, various guests, attorneys, and hosts on
        Newsmax have offered opinions and claims about Dr. Eric Coomer, the
        Director of Product Strategy and Security at Dominion Voting Systems.

               Newsmax would like to clarify its coverage of Dr. Coomer and note
        that while Newsmax initially covered claims by President Trump’s lawyers,
        supporters and others that Dr. Coomer played a role in manipulating
        Dominion voting machines, Dominion voting software, and the final vote
        counts in the 2020 presidential election, Newsmax subsequently found no
        evidence that such allegations were true.

               Many of the states whose results were contested by the Trump
        campaign after the November 2020 election have conducted extensive
        recounts and audits, and each of these states certified the results as legal
        and final.




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 Brendan Cole, Newsmax Statement in Full as Network Apologizes to Dominion

 Employee, Newsweek (April 2, 2021) (emphasis added), https://www.newsweek.com/

 newsmax-dominion-voter-systems-apology-full-retraction-1588042.

        And finally, when pressed in court, the lawyers representing former President

 Trump have conceded they could not and did not allege there was fraud in connection

 with the election. See, e.g., Donald J. Trump for President, Inc., 830 F. App’x at 381–82

 (“The Trump Presidential Campaign asserts that Pennsylvania’s 2020 election was

 unfair. But as lawyer Rudolph Giuliani stressed, the Campaign “doesn’t plead fraud. . . .

 [T]his is not a fraud case.”).

        Thus, while reports of fraud or election rigging may have been widely

 disseminated across the internet, by certain media outlets, and in allegations and

 affidavits submitted in pleadings from failed lawsuits around the country, Plaintiffs’

 counsel were (or should have been) on notice before filing the original Complaint, prior

 to the attempted amendment, and subsequently, that all of these allegations were

 heavily disputed, that none had been accepted as true or verified by any government

 agency or court, that independent investigations by reputable news sources had found

 no evidence to support the allegations, and that many had been comprehensively

 rebutted by authoritative sources. This should have put Plaintiffs’ counsel on high alert

 about the need to do significant independent due diligence before cutting and pasting

 from failed lawsuits, or, worse, directly copying into a federal lawsuit the ex-President’s

 Tweets claiming that the election was fraudulently stolen.

                   d. The circumstances of this case also include the volatile and
                      potentially dangerous political environment.




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        In considering the circumstances of this case, the Court must also consider that

 against the backdrop of the numerous failed lawsuits alleging election illegality was an

 ominous refusal by the losing candidate or his supporters to concede defeat publicly,

 even weeks after the election. This refusal was linked arm-in-arm with the repeated and

 widespread assertions that the election was “rigged” or “stolen.” These post-election

 claims had been foreshadowed by the former President via Twitter many months in

 advance of the election. See William Cummings, Joey Garrison, and Jim Sergent, By

 the Numbers: President Donald Trump’s Failed Efforts to Overturn the Election,” USA

 TODAY (Jan. 6. 2021), https://www.usatoday.com/in-depth/news/politics/elections/2021/

 01/06/trumps-failed-efforts-overturn-election-numbers/4130307001/ (recounting former

 President Trump’s tweets, from as early as May 2020, decrying the use of mail-in

 ballots and declaring “it will be the greatest Rigged Election in history . . . .Trying to use

 Covid for this scam”).

        Post-election, the former President and his supporters’ claims of the vote being

 “stolen” or “rigged” resulted in, among other things, serious threats to the safety of both

 public election officials and private employees of Dominion. See, e.g., Fredreka

 Schouten and Kelly Mena, Falsehoods and Death Threats Haunt Local Election

 Workers Weeks After Capitol Siege, CNN Politics (Feb. 13. 2021), https://

 www.cnn.com/2021/02/13/politics/threats-still-haunt-election-officials/index.html

 (“Around the country, election supervisors and the rank-and-file workers who helped

 carry out the nuts and bolts of American democracy still are reeling from the barrage of

 threats and the flood of falsehoods they had to navigate as they helped a record

 number of people cast ballots in a pandemic.”); Brian Snyder, Trump-Inspired Death




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 Threats Are Terrorizing Election Workers, Reuters (June 11, 2021), https://

 www.reuters.com/investigates/special-report/usa-trump-georgia-threats/ (describing

 election officials and their families “living with threats of hanging, firing squads, torture

 and bomb blasts” and how the associated campaign of fear is threatening the U.S.

 electoral system); Bente Birkeland and Miles Parks, The Toll of Conspiracy Theories: a

 Voting Security Expert Lives in Hiding, NPR Morning Edition (Dec. 23. 2020), https://

 www.npr.org/2020/12/23/948828692/the-toll-of-conspiracy-theories-a-voting-security-

 expert-lives-in-hiding (describing how the overseer of Dominion’s product strategy and

 security now lives in hiding because of threats generated by narratives about the

 election); Emily Czachor, Dominion Voting Systems Employees Threatened, Including

 Bounty Placed On One Worker, Amid Election Controversy, Newsweek (Nov. 25. 2020),

 https://www.newsweek.com/dominion-voting-systems-employees-threatened-including-

 bounty-placed-one-worker-amid-election-1550270 (stating that Dominion employees

 “are facing extensive harassment as unsubstantiated allegations of fraudulent election

 activity continue to circulate”).

        The former President’s pre- and post-election statements regarding the

 purportedly “stolen” election also raised a substantial doubt about the continuation of

 what arguably is the United States’ greatest political tradition—the unbroken two-

 century ritual of the peaceful transfer of power. See Michael Crowley, Trump Won’t

 Commit to ‘Peaceful’ Post-election Transfer of Power, N.Y. Times (Sept. 23, 2020),

 https://www.nytimes.com/2020/09/23/us/politics/trump-power-transfer-2020-

 election.html. The peaceful transition of Presidential power has been described as “the

 ultimate expression of the rule of law and of a society governed by the law, not by




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 individual rulers” as well as George Washington’s “greatest contribution to the American

 political tradition.” Q&A between Daniel I. Weiner and Tim Lau, Why the Presidential

 Transition Process Matters, Brennan Center for Justice (Nov. 13, 2020), https://

 www.brennancenter.org/our-work/research-reports/why-presidential-transition-process-

 matters.

        Horrifyingly, that two-century tradition arguably came to an end on January 6,

 2021, when the United States Capitol was stormed during a violent attack against the

 United States Congress, with a mob attempting to overturn President Trump’s defeat by

 disrupting the joint session of Congress assembled to formalize Joe Biden’s victory. The

 Capitol complex was locked down and lawmakers and staff were evacuated while

 rioters occupied and vandalized the building for several hours. People died. “This was a

 singular and chilling event in U.S. history, raising legitimate concern about the

 security—not only of the Capitol building—but of our democracy itself.” United States v.

 Cua, No. 21-107 (RDM), 2021 WL 918255, at *3 (D.D.C. Mar. 10, 2021); see also

 United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021) (“It cannot be gainsaid

 that the violent breach of the Capitol on January 6 was a grave danger to our

 democracy . . . .”).

        Given the volatile political atmosphere and highly disputed contentions

 surrounding the election both before and after January 6, 2021, circumstances

 mandated that Plaintiffs’ counsel perform heightened due diligence, research, and

 investigation before repeating in publicly filed documents the inflammatory, indisputably

 damaging, and potentially violence-provoking assertions about the election having been

 rigged or stolen. See Proposed Amended Compl., filed March 15, 2021, five weeks after




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 the assault on the Capitol, Dkt. #48-1 at 74, ¶ 579 (repeating former President Trump’s

 November 12, 2020 Tweet stating: “DOMINION DELETED 2.7 MILLION TRUMP

 VOTES NATIONWIDE. DATA ANALYSIS FINDS 221,000 PENNSYLVANIA VOTES

 SWITCHED FROM PRESIDENT TRUMP TO BIDEN. 941,000 TRUMP VOTES

 DELETED. STATES USING DOMINION VOTING SYSTEMS SWITCHED 435,000

 VOTES FROM TRUMP TO BIDEN.”) (capitalization in original).

        Even today, the judges of the District of Columbia, who are presently making

 detention decisions about alleged insurrectionists, are keeping people in jail precisely

 because of the continued propagation of evidence-lacking allegations of election fraud

 that spawned the insurrection to begin with. See United States v. Meredith, Crim. No.

 21-0159 (SBJ), Dkt. #41 at 24 (D.D.C. May 26, 2021) (detaining defendant and listing

 as one basis for decision that “[t]he steady drumbeat that inspired defendant to take up

 arms has not faded away; six months later, the canard that the election was stolen is

 being repeated daily on major news outlets and from the corridors of power in state and

 federal government, not to mention the near-daily fulminations of the former

 President.”); United States v. Whitton, No. 21-cr-35-5, 2021 WL 1546931, at *12 (D.D.C.

 Apr. 20, 2021) (detaining defendant in part because “the Court is not convinced that

 dissatisfaction and concern about the legitimacy of the election results has dissipated

 for all Americans” and citing former President Trump’s “forceful public comments about

 the ‘stolen election,’ chastising individuals who did not reject the supposedly illegitimate

 results that put the current administration in place”); United States v. Dresch, Crim. No.

 21-0071 (ABJ), 2021 WL 2453166, at *8 (D.D.C. May 27, 2021) (detaining defendant in

 part “given that his singular source of information, [former President Trump], continues




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 to propagate the lie that inspired the attack on a near daily basis. And the anger

 surrounding the false accusation continues to be stoked by multiple media outlets as

 well as the state and federal party leaders who are intent on censuring those who dare

 to challenge the former President’s version of events”) (citation omitted).

        As described below, under these circumstances, Plaintiffs’ counsel’s

 investigation was deficient and not reasonable.

           10. Plaintiffs’ Counsel must be Sanctioned for Filing this Lawsuit.

        I conclude Plaintiffs’ counsel should be sanctioned for filing this lawsuit and

 should be ordered to pay Defendants’ attorneys’ fees incurred for filing the motions to

 dismiss and having to oppose the attempted amendment. These fees should include

 defense counsel’s fees for arguing the respective motions to dismiss and to amend. I

 understand that sanctions are to be rarely imposed, and that the improper or excessive

 use of sanctions could deter creative lawyers from filing cases reasonably arguing for

 extensions or modifications of existing law. But this is not such a suit.

        This lawsuit was filed with a woeful lack of investigation into the law and (under

 the circumstances) the facts. The lawsuit put into or repeated into the public record

 highly inflammatory and damaging allegations that could have put individuals’ safety in

 danger. Doing so without a valid legal basis or serious independent personal

 investigation into the facts was the height of recklessness.

                  a. Sanctions are Merited for Making Objectively Frivolous Legal
                     Claims.

                          i. The was no good faith basis for asserting that Plaintiffs
                             had standing to sue.




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        I find that Plaintiffs’ counsel violated Rule 11 with respect to the legal basis for

 this lawsuit because there was no good faith basis for believing or asserting that

 Plaintiffs had standing to bring the claims they did. As described above and in my order

 of dismissal, binding Supreme Court authority (Lance v. Coffman) assured that this

 lawsuit was destined for failure from the beginning. Plaintiffs tried to bring the lawsuit on

 behalf of all registered voters for harm allegedly suffered by all registered voters

 because of supposedly illegal conduct during the election. There was no individual

 particularized harm alleged. Such a lawsuit was precluded from the beginning on

 standing grounds and Plaintiffs should have known it, based not only on Supreme Court

 precedent, but also because of the “tsunami” of other similar 2020 Presidential election

 challenges rejected for the same reason.

        When confronted with motions to dismiss on this basis, Plaintiffs’ efforts to

 distinguish between this case and the other dismissed lawsuits were either self-

 contradictory (claiming that this suit is brought against private entities and not

 government entities) or nonsensical and precluded by Supreme Court caselaw

 (suggestion that seeking money damages rather than an injunction as a remedy makes

 Plaintiffs’ claimed injury sufficiently particularized to form a basis for standing).

        This case never should have been filed because Plaintiffs never had a justiciable

 injury. I find that this case fits precisely within the Tenth Circuit’s precedent in awarding

 sanctions. See Collins, 916 F.3d at 1320 (affirming sanctions award where plaintiffs’

 attorney had sued without any “objectively reasonable basis for asserting standing to

 sue,” and when confronted with binding authorities, plaintiffs “unreasonably attempted to

 distinguish themselves from the plaintiffs” in those other binding cases). See also Roth




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 v. Green, 466 F.3d 1179, 1188–90 (10th Cir. 2006) (holding that district court did not

 abuse its discretion when finding that plaintiffs’ attorney violated Rule 11 because there

 were “a host of legal impediments to [plaintiffs] prevailing on their claims,” including that

 “the majority of the defendants had, at best, only tangential relationships to” plaintiffs’

 claims and plaintiffs’ counsel ignored controlling precedent).

        I come to this conclusion with respect to all Defendants who are seeking

 sanctions. I find that sanctions should be awarded under Rule 11, 18 U.S.C. § 1927,

 and the Court’s inherent authority. As detailed more specifically below, I do find bad

 faith with respect to the filing. No reasonable attorney would have believed Plaintiffs, as

 registered voters and nothing more, had standing to bring this suit.

                          ii. There was no good faith basis for asserting personal
                              jurisdiction over the State Official Defendants.

        An award of sanctions is also justified based on the frivolous and bad faith effort

 to assert personal jurisdiction over the state officials from Michigan, Pennsylvania,

 Georgia, and Wisconsin. As Plaintiffs’ counsel admitted at oral argument, he could cite

 no case in United States legal history where a state governor or secretary of state has

 had to answer in some other state for official actions taken in their own state. None of

 the allegedly illegal conduct of which Plaintiffs complain in Michigan or Pennsylvania (or

 Wisconsin or Georgia) was directed at Colorado. It would have been a violation of the

 individual state officeholders’ rights to due process to make them come to answer

 charges in Colorado.

        Plaintiffs’ counsel do not even try to make an argument justifying personal

 jurisdiction over the Michigan or Pennsylvania Defendants. They admitted as much

 when they finally dismissed the State Official Defendants after supposedly “researching”



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 the issue. Any research should have been done before filing the lawsuit, and not after

 putting the states through the cost of filing motions to dismiss and oppositions to the

 proposed Amended Complaint. Rule 11 required it. Not that any research should have

 been required to figure out what is obvious—a federal court in Colorado would not have

 personal jurisdiction over claims against other states’ governors and secretaries of state

 for actions taken in those other states with respect to the administration of those states’

 elections. Bringing claims in Colorado against the Michigan and Pennsylvania (and

 Georgia and Wisconsin) state officials was highly improper.

                       b. The scope of Plaintiffs’ counsel’s inquiry into the alleged facts
                          of this case was not reasonable under the circumstances and
                          justifies the imposition of sanctions.

        The Court need not draw conclusions about the truth of the factual allegations in

 the Complaint and Amended Complaint to impose sanctions based on inadequate

 inquiry. At the July 16 oral argument on the motion for sanctions, I questioned all parties

 about my ability to draw definitive conclusions about the validity, or conversely, the

 frivolousness, of Plaintiffs’ factual allegations of a RICO conspiracy and widespread

 election fraud. As Plaintiffs’ counsel pointed out, in this case there has been no

 evidentiary hearing on the substance of the allegations and no witnesses have testified.

 So, as incredible as some of Plaintiffs’ allegations may be (including Mr. Fielder’s

 assertions at oral argument that China and Italy were involved in manipulating the

 Dominion machines’ results (see July 16, 2021 Hr’g Tr. 29:4–6, Dkt. #133)), it would be

 difficult to make any definitive factual findings about the ultimate truth or falsity of

 Plaintiffs’ claims.




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        Nevertheless, in assessing whether to award sanctions, I am entitled to assess

 and make findings about the scope and reasonableness of Plaintiffs’ counsel’s inquiry

 and investigation to determine whether it was proper, under the circumstances, for a

 lawyer to have ever made the allegations in a public court filing in the first place. See

 Garr, 22 F.3d at 1281 (explaining that sanctions against the lawyers there were not

 predicated on the conclusion that the complaint was unmeritorious, but the “Rule 11

 problem [was] that neither [attorney] made a reasonable inquiry as required by Rule 11

 before signing the Complaint”).

        Rule 11 requires the attorney personally to certify after an “inquiry reasonable

 under the circumstances” that the factual contentions have evidentiary support or, if

 specifically so identified, will likely have evidentiary support after a reasonable

 opportunity for further investigation. Fed. R. Civ. P 11(b)(3). This requires an attorney,

 before so certifying, to investigate to determine whether the allegations in a complaint

 are well-grounded in fact. It is not a responsibility that can be delegated.

        Plaintiffs do make extensive citation in their Complaint and proposed Amended

 Complaint to multiple sources and reports suggesting or concluding that there was fraud

 in the 2020 Presidential election. These include citations to allegations in other lawsuits,

 plus affidavits and “reports” prepared by third parties submitted in those other lawsuits.

 In oral argument, Plaintiffs’ counsel defended the repetition of those allegations, saying

 some of them were made under oath and were filed by members of the bar.

 Referencing, among others, the owner of the MyPillow company, Mike Lindell, Mr.

 Fielder argued that these are “serious people” who are “all committed to disclosing the

 truth.” July 16, 2021 Hr’g Tr. 29:4–20, Dkt. #133.




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        Yet, as cited above, there was substantial public evidence that these were not

 serious people,6 and the numerous courts’ rejection of the lawyers’ arguments and

 factual claims should have put Plaintiffs’ counsel on notice to be very cautious before

 repeating these damaging allegations via a massive cut-and-paste job, without

 additional strenuous verification efforts.

        Plaintiffs’ counsel should have spoken to some of the other lawyers whose

 complaints they were copying into this lawsuit. Plaintiffs’ counsel should have

 confronted the authors of those failed lawsuits with evidence and public information that

 seemed to refute their claims to test their legitimacy. They should have done the same

 with the expert’s whose affidavits or reports they were citing.

        Instead, Plaintiffs’ counsel spoke to no one.

        Indeed, at oral argument Mr. Fielder was quick to say that he did not know

 Sidney Powell and had never spoken to her or attorney L. Lin Wood. See July 16, 2021

 Hr’g Tr. 11:19-22, Dkt. #133. And yet Mr. Fielder and Mr. Walker cited in their own

 Complaint allegations from lawsuits those two attorneys had filed. See Dkt. #1 at 38, ¶

 201 n.43 (citing the L. Lin Wood Georgia complaint); id., ¶ 203 (recounting allegations

 from Sidney Powell’s complaint in Pearson). At the very least, Plaintiffs’ counsel could

 have reached out to try to verify the credibility of the sources for those allegations.




        6See Bill Keveney, Newsmax Anchor Walks Off Set After Failing to Stop
 Mypillow CEO’s False Rigged-Election Rant, USA TODAY (Feb. 2. 2021), https://
 www.usatoday.com/story/entertainment/tv/2021/02/02/newsmax-anchor-walks-out-after-
 my-pillow-ceo-mike-lindell-rant/4363781001/ (explaining that Lindell had had his
 personal and corporate Twitter accounts suspended for violating a disinformation
 standard and was “shut down” when a Newsmax anchor walked off the set after
 repeatedly trying to stop Lindell “as he perpetuated election falsehoods” on air).


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        Similarly, Mr. Fielder and Mr. Walker could have spent some of the $95,000 they

 raised from the public to fund this litigation on an expert or three to assess and verify

 the truth of the information contained in the materials from other lawsuits which were

 copied into this Complaint. Rather than hiring an expert pre-filing, they spoke to no one.

 Mr. Fielder says he did send out some inquiring e-mails to experts who had filed

 affidavits in other cases but got no response. See July 16, 2021 Hr’g Tr. 10:19–21, Dkt.

 #133 (“And, no, I didn’t speak to any of the experts, but I reached out and I tried to email

 people and get a hold of them. But no one ever really responded.”).

        It appears that Plaintiffs’ counsel’s process for formulating the factual allegations

 in this lawsuit was to compile all the allegations from all the lawsuits and media reports

 relating to alleged election fraud (and only the ones asserting fraud, not the ones

 refuting fraud), put it in one massive complaint, then file it and ‘see what happens.’ In

 Mr. Fielder’s words,

        I was just amassing all of this data, and it all seemed to be connected. I was
        just connecting dots, and I put it in the complaint to establish what I was
        looking at. I wasn’t trying to hide anything. I put it in there. But then I put in
        another report, and another report, and another report.

 Id., 31:1–7.

        Material, including affidavits, from other lawsuits was accepted at face value, with

 no apparent critical assessment. See id., 30:22–25 (Mr. Fielder admitting he took

 affidavits filed in other cases “a little bit at face value because I did include it in the

 complaint”). Mr. Fielder says he watched videos and listened to talk show interviews

 with some of the experts involved. He also says relied on his own many years’

 experience as a lawyer to “connect the dots.” There is no evidence that Mr. Fielder or

 Mr. Walker have any experience or training in running elections or assessing the validity



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 of elections. And yet, these lawyers were apparently relying in part on their own

 personal assessments of what happened on election night as support for the lawsuit’s

 claims. See id., 11:10–18 (“And there did appear to be some factual anomalies that had

 even happened on the night and the morning of the election as I watched it myself. And,

 you know, the swing states of Georgia, Pennsylvania, Michigan, Wisconsin, they all

 seemed to stop counting at the same time. And a lot of the expert witnesses were

 talking about anomalies which took place in those early morning hours during which this

 counting was allegedly stopped, and that caused concern.”).

        Asked why they included the unverified and hotly disputed allegation from former

 President Trump’s Tweet about “Dominion deleting 2.7 million trump votes nationwide.”

 see Dkt. #1 at 49, ¶ 248, Mr. Fielder’s only justification was that the source was the

 “President of the United States.” See July 16, 2021 Hr’g Tr. 31:8–16, Dkt. #133. This

 allegation was included again in the proposed Amended Complaint, which was filed five

 weeks after the January 6, 2021 Capitol riot. See Dkt. #48-1 at 74, ¶ 579. Under the

 circumstances of this case, with this election, with this insurrection, with the on-going

 threats to election officials and company employees, including in a federal filing as if it

 were true such an inflammatory and damaging allegation, without any attempt at

 verification, merely because the out-going President had said it, was reckless and did

 not represent a reasonable inquiry under the circumstances.

        Given the volatile post-election environment—where pressing ahead with serious

 allegations could be damaging both to the State Official Defendants and to the

 defendant corporations, and potentially subject state officials or company employees

 and executives to more harassment or even violence—the required degree of due




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 diligence and pre-filing investigation was heightened. Couple the seriousness of the

 allegations against the individual and corporate defendants with the broader allegations

 that the entire mechanism of American democracy was “rigged,” and that the

 certification of the recently inaugurated President’s election was invalid (or in the words

 of the Complaint “void ab initio”), then the reasonable inquiry requirement becomes

 even more stringent. See Wis. Voters All., 2021 WL 686359, at *2 (“When any counsel

 seeks to target processes at the heart of our democracy, [one] may well conclude that

 they are required to act with far more diligence and good faith than existed here.”).

        And, as Plaintiffs’ counsel have said, this was primarily a damages case, rather

 than a case primarily seeking an injunction to stop or reverse the election. As such,

 there was no time pressure at all and no concern about the running of the statute of

 limitations. There was nothing to prevent Plaintiffs’ counsel from waiting some months

 to learn the results of the various government inquiries and hand recounts before filing.

 Similarly, rather than just cutting and pasting from pleadings or affidavits in other cases,

 there was nothing to prevent Plaintiffs’ counsel from actually contacting the lawyers

 involved, or the experts whose affidavits had been submitted in failed lawsuits, to

 personally learn the bases for their opinions and confront them with the contrary

 evidence that was readily available from public sources. See Garr, 22 F.3d at 1280

 (pointing out that the sanctioned lawyers advanced no reason why the lawsuit needed

 to be filed so quickly without proper investigation, there being no need for emergency

 relief or fear the defendants might have evaded process).

        But Plaintiffs’ counsel did none of this. Both Mr. Fielder and Mr. Walker admitted

 that they spoke to no other lawyers or experts involved in the many other cases (and




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 from which they had copied pleadings). In short, Plaintiffs’ counsel in this case did

 precious little to ensure that they were not part of a immense malignant feedback loop,

 echoing and repeating election-rigging conspiracy theories from the internet and from

 other failed lawsuits without any meaningful effort at verification.

        Mr. Fielder and Mr. Walker apparently spent much of their time signing up new

 clients and verifying the truth of their affidavits attesting to their distress at the perceived

 unfairness of the election process. That was a pointless exercise. Affidavits from one

 hundred fifty new plaintiffs who lacked personal knowledge of any election fraud or

 conspiracy between Defendants, and who suffered no particularized injury, added

 nothing to the lawsuit. Mr. Fielder was not relying on his clients for any substantive

 information or evidence about the allegations in the case. And, as Mr. Fielder has

 admitted on his website, http://dominionclassaction.com, and repeated at the sanctions

 hearing, this lawsuit was his creation and his idea.

        It is true that a signer’s obligation “personally to comply with the requirements of

 Rule 11 clearly does not preclude the signer from any reliance on information from other

 persons.” Garr, 22 F.3d at 1278. And it is sometimes “difficult to reconcile the tension

 between the requirement that a signer personally discharge the Rule 11 obligations and

 the acknowledgement that a signer may rely on another party’s inquiry in some cases.”

 Id. at 1279. That is why a court considering sanctions must assess “all the material

 circumstances in evaluating the signer’s conduct.” Id. at 1278.

        The unique circumstances of this case, including the volatile conditions

 surrounding the 2020 election, the extremely serious and potentially damaging

 allegations against public servants and private entities, the remarkable request to




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 declare void and ineffective the certification of the electoral votes of several states,

 along with an extraordinary money demand of $160 billion and the lack of any time

 pressure, meant that any reasonable pre-filing investigation needed to involve extensive

 due diligence and the testing of the allegations, including actually talking to human

 beings, such as the lawyers who filed the failed lawsuits and the experts who submitted

 affidavits. Under the circumstances of this case, Plaintiffs’ counsel did not fulfil this

 obligation.

        The pre-filing reasonable inquiry requirement is not just some formality. The

 license to practice law grants lawyers a privilege to file arguably defamatory documents

 in court that, in any other circumstance, could subject the publisher to a libel lawsuit and

 a judgment in damages. “An attorney at law is absolutely privileged to publish

 defamatory matter concerning another in communications preliminary to a proposed

 judicial proceeding, or in the institution of, or during the course and as part of, a judicial

 proceeding in which he participates as counsel, if it has some relation to the

 proceeding.” Club Valencia Homeowners Ass’n, Inc. v. Valencia Assoc., 712 P.2d 1024,

 1027 (Colo. App. 1985) (quoting Larmour v. Campanale, 96 Cal. App.3d 566 (1979)).

 The purpose of the privilege is to afford “litigants the utmost freedom of access to the

 courts to preserve and defend their right and to protect attorneys during the course of

 their representation of clients.” Id.

        But along with a law license and the associated privilege to make arguably

 defamatory allegations in judicial proceedings comes the sworn obligation of every

 lawyer, as an officer of the court and under Rule 11, not to abuse that privilege by




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 making factual allegations without first conducting a reasonable inquiry into the validity

 of those allegations.

        Mr. Fielder’s mantra, repeated over and over in argument and in Plaintiffs’ briefs,

 that these are just “averments, that can be admitted or denied,” is no rejoinder at all.

 See July 16, 2021 Hr’g Tr. 92:20, Dkt. #133 (“They were averments. You could admit or

 you could deny them.”). Defendants should not have to respond at all to allegations

 made without reasonable investigation. Rule 11 imposes on lawyers a gatekeeper role,

 ensuring that potentially defamatory allegations are not made in public filings without an

 officer of the court having certified that a reasonable inquiry has been made as to their

 truth. Here, without making the necessary inquiries, Plaintiffs’ counsel copied into their

 Complaint inflammatory and damaging allegations from failed lawsuits and media

 reports. Plaintiffs’ counsel picked only the information, frequently from dubious sources,

 that supported their conspiracy theory, ignoring contrary available evidence, including

 statements from courts and non-partisan government agencies. They did not take any

 independent steps to verify the accuracy of the information by talking to actual human

 beings. The public statements from authoritative sources and courts rejecting

 allegations of widespread voter fraud or ballot-rigging should have been, if not bright

 red, at least flashing yellow lights warning Plaintiffs’ counsel to proceed with caution.

 Instead, they drove through the lights at full speed, even accelerating when it came to

 the Amended Complaint, which was filed after the January 6, 2021 insurrection that had

 been prompted, in part, by dangerous suggestions that the election had been stolen.




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        In the face of all the contrary evidence, and even today not having spoken to any

 lawyer or expert who might support their claims, both Plaintiffs’ counsel say they would

 file the same complaint again.7

                  c. I also find Plaintiffs’ counsel acted in bad faith and attempted
                     to mislead the Court.

        It is difficult to look into the mind of a person and determine his motives—what

 precisely he was thinking. Nevertheless, in this case, I can conclude that Plaintiffs’

 counsel acted with objective bad faith in filing this lawsuit and dumping into a public

 federal court pleading allegations of a RICO conspiracy that were utterly unmerited by

 any evidence.

        I make this finding based on Plaintiffs’ counsel’s effort to add RICO conspiracy

 claims to the suit, coupled with extensive citation in their proposed Amended Complaint

 to a TIME Magazine article by Molly Ball published on February 4, 2021, titled “The

 Secret History of the Shadow Campaign That Saved the 2020 Election “ (“Secret

 History”).8

        With no sense of irony or introspection, in oral argument, in their proposed

 Amended Complaint, and in their briefs, Plaintiffs’ counsel repeatedly cite this article as

 proof of the RICO conspiracy that they allege involved state officials, Facebook, CTCL,

 Zuckerberg, and Ms. Chan. See e.g., Proposed Amended Compl., Dkt. #48-1 at 5, ¶¶

 13, 15, & 16 n.10, 11, & 12; Pls. Resp. and Brief in Opp’n to Def. Facebook’s Mot. to

 Dismiss, Dkt. #40 at 3 n.1, 4 n.3; see also March 11, 2021 Hr’g Tr. 22:7-9, Dkt. #45 (Mr.




        7Plaintiffs’ counsel do say they would not sue the state officials again if they
 were to refile the suit.
       8 https://time.com/5936036/secret-2020-election-campaign/.




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 Walker: “And I would just direct everybody to Molly Ball’s TIME article if you want to get

 any kind of sense of what really happened here.”). Holding out this article as near

 definitive proof of the claimed RICO conspiracy, Plaintiffs’ counsel even proclaimed,

 “TIME Magazine doesn’t print conspiracy theories, unless they’re true.” Dkt. #40 at 4.

        But I question whether Plaintiffs’ counsel actually read or bothered to try to

 understand the TIME article. Rather than some nefarious plot, the Secret History article

 describes in detail a valiant effort by both left and right-wing groups, labor organizations,

 businesses, and non-profit organizations to come together both before and after the

 election “to keep the peace and oppose [President] Trump’s assault on democracy.”

 Secret History at 2.

        In light of Plaintiffs’ repeated citation to and extensive reliance on this article in

 their proposed Amended Complaint and briefs, an extended excerpt is in order:

               The handshake between business and labor was just one
        component of a vast, cross-partisan campaign to protect the election–an
        extraordinary shadow effort dedicated not to winning the vote but to
        ensuring it would be free and fair, credible and uncorrupted. For more than
        a year, a loosely organized coalition of operatives scrambled to shore up
        America’s institutions as they came under simultaneous attack from a
        remorseless pandemic and an autocratically inclined President. Though
        much of this activity took place on the left, it was separate from the Biden
        campaign and crossed ideological lines, with crucial contributions by
        nonpartisan and conservative actors. The scenario the shadow
        campaigners were desperate to stop was not a Trump victory. It was an
        election so calamitous that no result could be discerned at all, a failure of
        the central act of democratic self-governance that has been a hallmark of
        America since its founding.

                Their work touched every aspect of the election. They got states to
        change voting systems and laws and helped secure hundreds of millions in
        public and private funding. They fended off voter-suppression lawsuits,
        recruited armies of poll workers and got millions of people to vote by mail
        for the first time. They successfully pressured social media companies to
        take a harder line against disinformation and used data-driven strategies to
        fight viral smears. They executed national public-awareness campaigns



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        that helped Americans understand how the vote count would unfold over
        days or weeks, preventing Trump’s conspiracy theories and false claims of
        victory from getting more traction. After Election Day, they monitored every
        pressure point to ensure that Trump could not overturn the result.

               The untold story of the election is the thousands of people of both
        parties who accomplished the triumph of American democracy at its very
        foundation,” says Norm Eisen, a prominent lawyer and former Obama
        Administration official who recruited Republicans and Democrats to the
        board of the Voter Protection Program.

                For Trump and his allies were running their own campaign to spoil
        the election. The President spent months insisting that mail ballots were a
        Democratic plot and the election would be “rigged.” His henchmen at the
        state level sought to block their use, while his lawyers brought dozens of
        spurious suits to make it more difficult to vote–an intensification of the
        GOP’s legacy of suppressive tactics. Before the election, Trump plotted to
        block a legitimate vote count. And he spent the months following Nov. 3
        trying to steal the election he’d lost–with lawsuits and conspiracy theories,
        pressure on state and local officials, and finally summoning his army of
        supporters to the Jan. 6 rally that ended in deadly violence at the Capitol.

                 The democracy campaigners watched with alarm. “Every week, we
        felt like we were in a struggle to try to pull off this election without the country
        going through a real dangerous moment of unraveling,” says former GOP
        Representative Zach Wamp, a Trump supporter who helped coordinate a
        bipartisan election-protection council. “We can look back and say this thing
        went pretty well, but it was not at all clear in September and October that
        that was going to be the case.”

 Id. at 3–4.

        In other words, on review of the Secret History article, not one word is remotely

 supportive of the existence of an illegal, illegitimate, or unconstitutional effort to rig the

 2020 election, which is what the article is cited for in Plaintiffs’ proposed Amended

 Complaint. See Dkt. #48-1 at 5, ¶ 13 (citing the Ball article for the allegation that the

 2020 Presidential election “was unconstitutionally influenced by a well-funded cabal of

 powerful people”) (emphasis added); id., ¶ 14 (citing Ball article for the allegation that an

 enterprise was established with the intent “to influence a Presidential election”).




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 Plaintiffs’ counsel, via their proposed Amended Complaint and the arguments in their

 briefs, transmogrify what TIME unequivocally describes as a heroic effort to save

 America’s democratic system of government, into a claimed RICO conspiracy, with

 donations to a non-profit and offers to assist municipalities in securing the election

 during a pandemic transformed into malicious implements of constitutional destruction.

 For Plaintiffs’ counsel to hold up this article as supporting the existence of an illegal

 RICO conspiracy to rig the election is an affront to the truth and an attempt to mislead

 the Court.

        There is no justification for distorting the contents of the article in pleadings or

 briefs to the Court. There was no good faith basis for relying on the Secret History

 article to allege a RICO conspiracy to rig the 2020 election. No reasonable lawyer acting

 in good faith, as an officer of the court, would have drawn that conclusion or made

 representations to the Court saying the allegations of a conspiracy to rig the election

 could be supported with citations to an article that which says the exact opposite. See

 MAI Photo News Agency, Inc. v. Am. Broadcasting Co., Inc., 2001 WL 1800020, at *7

 (S.D.N.Y. Feb. 22, 2001) (finding sanctions warranted where one party’s briefs

 “contained purported quotations of portions of defendant’s briefs with key words

 switched around to make the statements support his unfounded position”).

              11. Conclusions

        For the reasons stated above, I find the following:

        (1)     That this lawsuit was filed in bad faith;

        (2)     That Plaintiffs’ counsel’s legal contention that the Plaintiffs had Article III

        standing to bring this suit was not warranted by existing law or a nonfrivolous




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       argument for extending, modifying, or reversing existing law or establishing new

       law. To the contrary, I find that Plaintiffs’ counsel’s arguments on the issue of

       standing frivolous;

       (3)    That Plaintiffs’ counsel’s act of filing a lawsuit in Colorado against state

       officials from Georgia, Michigan, Pennsylvania, and Wisconsin was not

       warranted by existing law or a nonfrivolous argument for extending, modifying, or

       reversing existing law or establishing new law. To the contrary, it was obvious

       that there was no personal jurisdiction in Colorado over these defendants and

       suit against these state officials should never have been filed in Colorado;

       (4)    That, in light of the unusual and highly volatile circumstances of this case

       and the surrounding political environment, Plaintiffs’ counsel did not conduct a

       reasonable inquiry into whether the factual contentions had evidentiary support.

       Without doing any independent confirmation via, for example, the hiring of

       experts, or speaking to lawyers who had filed other failed lawsuits, they

       improperly accepted allegations from those suits and from media reports at face

       value and cut and pasted them into their Complaint and Amended Complaint;

       (5)    That because of its inherent legal flaws and the inadequate inquiry into the

       factual allegations by Plaintiffs’ counsel, this lawsuit should never have been filed

       in the first place or, using the Tenth Circuit’s test, no “reasonable attorney

       admitted to practice before the district court would file such a document.”

       Predator Int’l, Inc., 793 F.3d at 1182 (quoting Adamson, 855 F.2d at 673);

       (6)    That Plaintiffs’ counsel’s filing of a motion for leave to amend, without

       addressing the obvious fatal problems with standing and lack of personal




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       jurisdiction, while attempting to add RICO claims based on a TIME magazine

       article that provided no support for such claims, was a violation of 28 U.S.C. §

       1927 in that the attempt to amend unreasonably and vexatiously multiplied the

       proceedings;

       (7)    That Plaintiffs’ counsel improperly included in a federal complaint highly

       disputed and inflammatory statements by the former President stating

       categorically that ““DOMINION DELETED 2.7 MILLION TRUMP VOTES

       NATIONWIDE” without doing anything to independently verify the truth of that

       statement;

       (8)    That sanctions are merited under Rule 11 (except with respect to

       Pennsylvania) and 28 U.S.C. § 1927.

       (9)    That sanctions are further merited under this Court’s inherent authority

       because of the bad faith nature of the filing of the suit that Plaintiffs’ counsel

       knew or should have known was doomed to failure from the very beginning; and

       (10)   That sanctions are required to deter the filing of frivolous, politically

       motivated lawsuits such as this in the future and to compensate the Defendants

       for the unnecessary expenditure of private and public money in defense of a

       frivolous lawsuit filed without reasonable legal basis and without a reasonable

       inquiry into the facts.

       For the foregoing reasons, it is HEREBY ORDERED that Plaintiffs’ counsel shall

 jointly and severally pay the moving Defendants’ reasonable attorneys for (1) having to




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 prepare and argue the motions to dismiss, and (2) having to prepare and argue the

 oppositions to the Motion for Leave to Amend.9

        To justify an award of attorneys’ fees and expenses, the party seeking such an

 award normally must provide the Court with time and expense records, specifying for

 each attorney who performed work on the matter, the date, hours expended and the

 nature of the work performed. Fees and expenses must be both necessary and

 reasonable.

        Accordingly, it is FURTHER ORDERED that within 14 days from the date of this

 Order, the moving Defendants are directed to submit to Plaintiffs’ counsel detailed

 billing records of each lawyer, reflecting the time spent on which tasks, with

 accompanying hourly rates, so that the Parties may attempt to confer and stipulate to a

 reasonable figure that would establish an appropriate sanction award for each moving

 Defendant. If a stipulation can be reached within ten days or receipt of the billing

 records, the Parties shall inform the Court of the stipulation (or stipulations). If no

 stipulation can be reached within 10 days after delivery of the billing records to Plaintiffs’

 counsel, the Parties shall inform the Court and, no later than seven days thereafter,

 each moving Defendant shall submit to the Court the records and an accompanying

 brief supporting their fee request (not to exceed seven pages in length). Plaintiffs then

 will have 14 days to respond.




        9 I recognize that Pennsylvania did not seek sanctions under Rule 11, but
 because of the bad faith nature of the suit from the beginning, and the unnecessary
 multiplying of the litigation by seeking to amend, sanctions for Pennsylvania under the
 Court’s inherent power and 28 U.S.C. § 1927 nevertheless justify such an award.


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        The Court will note that the “reasonable” fees for commercial litigators vary wildly

 across the country. While hourly rates in excess of $1,000 per hour for an experienced

 litigator may be the going rate in some locations on the coasts, it is not the case in

 Colorado. The Court will be looking to the Colorado Bar Association Economics of Law

 Practice Survey for guidance on the reasonableness of the rates requested. The

 sanction award will not be excessive. The Court will similarly be looking at the number

 of hours spent to ensure that appropriate tasks were reasonably allocated to lawyers or

 paralegals at a lower hourly rate, and time was not unnecessarily spent. While Plaintiffs’

 counsel may well choose to appeal this sanction decision (as is their absolute right), it

 would be in all Parties’ interest to reach an agreement as to the reasonable figure for

 each moving Defendant.

        SO ORDERED



        _____________________                            August 3rd, 2021
        N. Reid Neureiter
        United States Magistrate Judge




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